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           Exhibit E
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                                                                                 August 29, 2024


By Email

AUSA Dina McLeod
AUSA Rushmi Bhaskaran
AUSA Nicholas W. Chiuchiolo
AUSA Georgia Kostopoulos
United States Attorney’s Office
Southern District of New York
26 Federal Plaza, 37th Floor
New York, New York 10278


       Re:       United States v. Javice, et al.,
                 23 Cr. 251 (AKH)

Dear Counsel:

        On behalf of Mr. Olivier Amar, and in response to your August 9, 2024 letter, we provide
the below information in addition to that previously set forth in our July 15, 2024 disclosure
regarding anticipated expert testimony (the “July Disclosure”). We maintain that the July
Disclosure satisfies the requirements under Rule 16(b)(1)(C) of the Federal Rules of Criminal
Procedure. We provide this disclosure in the spirit of good faith to avoid unnecessary motion
practice. This disclosure, however, is subject to our ongoing reservation of rights stated in our
July 15 Disclosure and below, and is provided without waiving our right to object and move to
exclude any untimely disclosure of experts by the Government.

        As a preliminary matter, none of the experts have interviewed Mr. Amar or any other
individual in connection with their work. Our original disclosure, including the curricula vitae of
the expert witnesses, is attached as Appendix A. In addition, the experts’ reliance materials from
the discovery produced to date, identified by Bates number, is attached as Appendix B. Further
bases for the opinions, including academic publications and consulting experience, are attached as
Appendix C. We reserve the right to amend and supplement these disclosures and appendices as
discovery continues, upon receipt of the Government’s witness and exhibit lists, material disclosed
pursuant to the Government’s disclosure obligations—including disclosures required under 18
U.S.C. § 3500, Brady, Giglio, and their progeny—as well as in connection with evidence and
testimony presented in the Government’s case-in-chief at trial.

                       AMERICAS (NEW YORK, DELAWARE, MIAMI, SAN FRANCISCO, SÃO PAULO, WASHINGTON DC)
           APAC (HONG KONG, SEOUL, SHANGHAI), CARIBBEAN (BVI, CAYMAN ISLANDS), EMEA (CYPRUS, DUBAI, LONDON, TEL AVIV)
                         KOBRE & KIM REFERS TO KOBRE & KIM LLP, A NEW YORK LIMITED LIABILITY PARTNERSHIP.
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Dr. Maxime Cohen

   •    As set forth in his curriculum vitae, which is included in Appendix A, Dr. Cohen is an
        expert in data science, analysis, and the use of large data sets in both business and research
        contexts, including user data. Dr. Cohen has a PhD in Operations Research from MIT and
        has worked as a researcher for Google AI, IBM Research, and Oracle Corporation. He is
        currently the Scale AI Professor of Retail and Operations Management and Director of
        Research at McGill University. His research interests include the optimization of business
        operational decisions and the application of these tools in the retail sector. He also serves
        in an advisory capacity for several companies in the AI and data science space.

   •    In forming his opinions, Dr. Cohen will rely upon his education, knowledge, experience,
        and training in data science and analysis. As part of the basis for his opinions, Dr. Cohen
        may rely upon his own research and publications and upon his experience consulting with
        companies. Dr. Cohen has also reviewed portions of the discovery produced as of the date
        of this notice.

   •    Based on the foregoing training and experience, as well as his review of ongoing discovery
        in this case, Dr. Cohen anticipates offering the following testimony and opinions at trial,
        including but not limited to:

           o JPMC’s data validation exercise, carried out by its vendor Acxiom, is surprisingly
             limited in light of industry standards and insufficient to assess and verify the alleged
             4.25 million Frank “users” in any genuine sense for various reasons, including:

                      The exercise does not appear to include any formal agreed-upon definition
                       of “users.” Dr. Cohen’s opinion is based on his analysis of the contractual
                       agreement between Frank and Acxiom, communications between JPMC
                       and Acxiom, and communications between JPMC and Frank regarding the
                       data exercise. Based on Dr. Cohen’s experience, which includes analysis of
                       user or customer data, the definition of “user” is context dependent and is
                       an important required step for this type of data validation exercise.

                      The exercise carried out by JPMC’s vendor Acxiom appears to have only
                       verified the presence of 4.265 million rows of data and certain other select
                       data fields. Dr. Cohen’s opinion is based on his analysis of ongoing
                       discovery in this case including the Acxiom data validation results;
                       communications between Frank and Acxiom discussing the results;
                       communications between JPMC and Acxiom discussing the results; and
                       internal JPMC communications discussing the scope of the data validation
                       project and the results.

                      The exercise did not include common components of a data validation
                       exercise that seeks to confirm or analyze an existing customer base and its
                       quality, including more thorough analyses and methodologies, as well as
                       efforts to assess data integrity, user engagement, customer matching and
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                           user marketability. In this context, a thorough and comprehensive data
                           exercise will involve several techniques and a series of validation checks,
                           such as outliers’ identification, anomaly detection, matching algorithms,
                           clustering methods, and comprehensive statistical analyses, which may be
                           adapted based on the specifics of each dataset. Dr. Cohen’s opinion is based
                           on his analysis of ongoing discovery in this case, namely, the Acxiom data
                           validation results; communications between Frank and Acxiom discussing
                           the results; communications between JPMC and Acxiom discussing the
                           results; and internal JPMC communications discussing the scope of the
                           project and results. Dr. Cohen’s opinion is also based on his own experience
                           analyzing and examining dozens of different user data sets in various
                           contexts, 1 as well as standards discussed in the academic literature. 2

                          The $1,695 fee paid to Acxiom was very low and is not consistent with any
                           genuine effort to meaningfully analyze Frank’s “user” data and its quality.
                           Any data validation exercise intended to assess a substantial quantity of user
                           data to evaluate its utility for an acquisition and subsequent business
                           integration, such as what occurred here with Frank, would have typically
                           involved a much higher fee. The estimated range of the fee for a meaningful
                           data validation exercise would depend on many factors, including the
                           agreed upon scope, the methodologies to be deployed, and other terms. Dr.
                           Cohen’s opinion is based on his experience consulting for companies and
                           providing data science services as well as on his analysis of produced
                           documents in this case regarding Acxiom’s fee.

             o The practice of purchasing data from third-party providers, as Mr. Amar did when
               he purchased the ASL list in early August 2021, is a common practice in the tech
               industry, including, for example, for the purposes of enriching or augmenting an
               existing dataset. Dr. Cohen’s opinion is based on analysis of ongoing discovery in
               this case regarding the ASL data purchase, as well as his own research and
               consulting experience, for which he was involved in purchasing data from third-
               party providers in various contexts and application domains. 3


         1
             Dr. Cohen’s curriculum vitae notes his work with various types of data sets, including, for example:
supermarket data in papers 2, 3, 13, and 29; Google data in paper 7; Via data in papers 14, 21, and 27; Waze data in
papers 17 and 26; electronics store data in paper 20; legal data in paper 24; large airline data in paper 28; restaurant
platform data in paper 30; and convenience store data in paper 31.
         2
            MICHAEL BERTHOLD ET AL., GUIDE TO INTELLIGENT DATA ANALYSIS Ch. 4 (2010); IHAB F. ILYAS & XU
CHU, DATA CLEANING (Association for Computing Machinery 2019); Varun Chanolda et al., Anomaly Detection: A
Survey, 41 ACM COMPUTING SURVEYS (2009); Raghavendra Chalapathy & Sanjay Chawla, Deep Learning for
Anomaly Detection: A Survey, 1901.03407 arXiv (Jan. 10, 2019); Erhard Rahm & Hong Hai Do, Data Cleaning:
Problems and Current Approaches, 23(4) IEEE DATA ENG’G BULL. 1, 3–13.
         3
            See, e.g., Maxime Cohen et al., Customers’ Multihoming Behavior in Ride-Hailing: Empirical Evidence
from Uber and Lyft (Nov. 2, 2023), https://papers.ssrn.com/sol3/papers.cfm?abstract_id=4591826. Dr. Cohen has also
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             o It is relatively common for tech start-ups to lack consistent organization and data
               storage and management protocols. As a result, it is not surprising that a start-up
               like Frank may have experienced challenges accessing, consolidating and sharing
               its data during the due diligence process. Dr. Cohen’s testimony is based on his
               analysis of ongoing discovery in this case and his experience as an advisory board
               member of several startups.

             o The use of synthetic data in the tech industry is also an established practice and can
               include many legitimate uses, such as data enrichment or augmentation, the
               provision of data to assist in the training of a machine-learning model or algorithm,
               or the creation of data to support a proof of concept or to provide an illustrative
               example of a business model. Dr. Cohen’s testimony is based on his data science
               experience as described above, and on publicly available articles, 4 case studies, 5
               and academic literature. 6

Prof. Steven Davidoff Solomon

    •    As set forth in his curriculum vitae, which is included in Appendix A, Prof. Solomon is an
         expert in mergers and acquisitions (“M&A”), corporate law and governance, and capital
         markets regulation. Prof. Solomon is currently a Professor of Law at UC Berkeley School
         of Law, where he teaches courses on M&A, business associations, and corporate
         governance. Prof. Solomon has authored a leading casebook on M&A and written
         extensively on issues related to corporate governance. Prof. Solomon is published regularly
         in the top legal, economic, and news publications. He has thrice been named one of the 100
         most influential people in corporate governance by the National Association of Corporate
         Directors.


used data purchased by others, and publicly available data, to enrich or augment datasets as part of his research. See
papers 22, 27, 28, 29, and 32 on Dr. Cohen’s curriculum vitae.
         4
              See, e.g., Brian Eastwood, What is synthetic data — and how can it help you competitively?, MIT
Management Sloan School (Jan. 23, 2023), https://mitsloan.mit.edu/ideas-made-to-matter/what-synthetic-data-and-
how-can-it-help-you-competitively; Todor Lilkov, Synthetic data companies in 2023, Mostly AI (Sept. 29, 2023),
https://mostly.ai/blog/synthetic-data-companies; and Elise Devuax, List of synthetic data startups and companies —
2021, Medium (Mar. 23, 2021), https://elise-deux.medium.com/the-list-of-synthetic-data-companies-2021-
5aa246265b42.
         5
              See, e.g., Elise Devaux, Privacy-preserving machine learning in insurance: LA Mobilière success story,
Statice (July 6, 2020), https://www.statice.ai/post/future-proofing-data-operations-successful-insurance-mobiliere;
Janet Slifka, Tools for generating synthetic data helped bootstrap Alexa’s new-language releases, Amazon Science
(Oct. 11, 2019), https://www.amazon.science/blog/tools-for-generating-synthetic-data-helped-bootstrap-alexas-new-
language-releases; Kyle Wiggers, The challenges of developing autonomous vehicles during a pandemic, VentureBeat
(Apr. 28, 2020), https://venturebeat.com/ai/challenges-of-developing-autonomous-vehicles-during-coronavirus-
covid-19-pandemic.
         6
             See, e.g., Mauro Giuffrè & Dennis L. Shung, Harnessing the power of synthetic data in healthcare:
innovation, application, and privacy, 6 NPJ DIGIT. MED. (2023); Trivellore E. Raghunathan, Synthetic Data, 8.1 ANN.
REV. OF STAT. AND ITS APPLICATION 129, 129–140 (2021); Richard J. Chen et al., Synthetic data in machine learning
for medicine and healthcare, 5 NATURE BIOMEDICAL ENG’G, 493, 493–497.
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    •    In forming his opinions, Prof. Solomon will rely upon his education, knowledge,
         experience, and his specific training in corporate law and M&A. As part of the basis for
         his opinions, Prof. Solomon may rely upon his own research and publications. Prof.
         Solomon has also reviewed portions of the discovery produced as of the date of this
         disclosure.

    •    Based on the foregoing training and experience, as well as his review of discovery materials
         in this case, Prof. Solomon anticipates offering the following opinions at trial, including
         but not limited to:

             o The transactional documents in this case are inconsistent with the Government’s
               claim that the representations regarding Frank’s “user” data were a critical or
               crucial factor driving the acquisition. The bases for this opinion include that:

                         The terms of the Merger Agreement are “seller friendly,” given that JPMC
                          is one of the largest and most sophisticated financial institutions in the world
                          and the transaction involved the acquisition of a relatively new, small
                          startup company that had virtually no assets or revenue. Prof. Solomon’s
                          opinion is based on his education, training, and experience, analysis of
                          ongoing discovery in this case, namely, the Merger Agreement, JPMC
                          presentations created during the due diligence process, contemporaneous
                          public rankings of global banks by size, 7 and JPMC’s website. 8 Prof.
                          Solomon’s opinion is also based on his experience and academic research,
                          including time spent as a practicing M&A attorney, advising the ABA on a
                          model form of acquisition agreement, classes taught on M&A, reviewing
                          hundreds of merger agreements as part of his research, and preparing a
                          leading casebook on M&A. 9

                          It is standard practice in a merger or purchase agreement for the buyer to
                          include specific representations and warranties on matters that the buyer
                          deems material to the transaction.

                               •   Neither the final, executed Merger Agreement, nor any draft Prof.
                                   Solomon has seen, contains any representations and warranties
                                   regarding users or customers, projections, or user or customer data.


         7
             David Feliba & Rehan Ahmad, The world’s 100 largest banks, 2021, S&P Global (Apr. 23, 2021),
https://www.spglobal.com/marketintelligence/en/news-insights/research/the-worlds-100-largest-banks-2021.
         8
             “We are a leading global financial services firm with assets of $2.6 trillion and operations worldwide….
We operate in over 100 countries with more than 240,000 employees worldwide. … J.P. Morgan is a leader in
investment banking, commercial banking, financial transaction processing and asset management. We serve millions
of customers, predominantly in the U.S., and many of the world’s most prominent corporate, institutional and
government clients globally.” About Us, J.P.Morgan (last visited Aug. 2, 2024), https://www.jpmorgan.com/about-us.
        9
             Steven Davidoff Solomon et al., Mergers & Acquisitions: Law, Theory, & Practice (1st ed. 2016, 2d ed.
2019, 3d ed. 2023).
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                           •   The final Merger Agreement, and drafts, also did not include any
                               10b5 representations and warranties or any sandbagging
                               representations and warranties.

                      Internal JPMC correspondence suggests JPMC made a deliberate decision,
                       consistent with custom and practice in an M&A negotiation, to forgo
                       insisting upon a representation and warranty on the issue of “users”. Prof.
                       Solomon’s opinion is based on his analysis of ongoing discovery in this
                       case, namely, draft and executed versions of the Merger Agreement and
                       internal JPMC communications, as well as Prof. Solomon’s experience and
                       academic research, including time spent as a practicing M&A attorney,
                       classes taught on M&A, advising the ABA on a model form of acquisition
                       agreement, the review of hundreds of merger agreements as part of his
                       research, and the authorship of a leading casebook on M&A.

                      Section 4.9 of the Merger Agreement expressly states that i) the buyer could
                       not rely on any representations or documents except as set forth in the
                       Merger Agreement, ii) JPMC had access to all books and records and assets
                       of Frank that they desired or requested, iii) JPMC had the “full opportunity”
                       to meet with management, and iv) JPMC made its “own inquiry and
                       investigation” and “formed an independent judgment” concerning Frank
                       and its business and operations. Prof. Solomon’s opinion is based on
                       analysis of documents produced in this case, namely, the Merger
                       Agreement.

           o The Merger Agreement was negotiated and drafted by two respected, highly
             sophisticated, and experienced law firms, Dechert (representing JPMC) and Sidley
             Austin (representing Frank), which supports the conclusion that the seller-friendly
             terms of the Merger Agreement reflected deliberate choices made by JPMC and
             Frank. Prof. Solomon’s opinion is based on his review of communications between
             the law firms during the drafting of the Merger Agreement

Prof. Scott Meadow

   •    As set forth in his curriculum vitae, which is included in Appendix A, Prof. Scott Meadow
        is an expert in entrepreneurship, venture capital, private equity, mergers and acquisitions,
        and the due diligence processes associated with these fields. Prof. Meadow is a Clinical
        Professor of Entrepreneurship at the University of Chicago Booth School of Business,
        where he teaches courses on entrepreneurial finance, venture capital, and due diligence.
        Prof. Meadow has over 30 years of experience as a general partner in venture capital and
        private equity firms, and he has testified in a broad range of commercial disputes involving
        entrepreneurship, venture capital, private equity, mergers and acquisitions, and due
        diligence, among other subjects.

   •    In forming his opinions, Prof. Meadow will rely on his education, knowledge, experience,
        and his specific training in due diligence processes and entrepreneurship. As part of the
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         basis for his opinions, Prof. Meadow may rely upon his own research and publications,
         research and publications authored by others, and publicly available data sources. Prof.
         Meadow has also reviewed portions of the discovery produced as of the date of this
         disclosure.

    •    Based on the foregoing training and experience, as well as his review of discovery materials
         in this case, Prof. Meadow anticipates offering the following opinions at trial, including
         but not limited to:

              o Ostensibly, the due diligence process conducted by JPMC in relation to its
                acquisition of Frank entailed many of the components of an industry-standard due
                diligence process. Prof. Meadow’s testimony will be based on his experience
                conducting due diligence, ongoing discovery in this matter concerning JPMC’s due
                diligence process, publicly available reports concerning the typical subject matter
                of due diligence, 10 data and news articles concerning historical transactions
                involving JPMC, 11 and the professional experience of certain JPMC personnel
                involved in the Frank due diligence process as reflected in their LinkedIn profiles
                and other publicly available information.

                        The titles of the JPMC personnel involved in the due diligence process (the
                         “JPMC Deal Team”), the size of the JPMC Deal Team, and the nature of
                         the JPMC Deal Team’s documentation and communications (at least at a
                         surface level) suggest that the JPMC Deal Team was experienced,
                         knowledgeable, and capable of conducting a due diligence process that was
                         appropriate and consistent with industry standards.

              o JPMC’s acquisition of Frank does not appear to have been driven primarily by the
                representation concerning Frank’s 4.25 million “user” base because there are many
                indicators that JPMC’s decision-making process was disconnected from a thorough
                assessment of Frank’s “user” base. Prof. Meadow’s testimony will be based
                ongoing discovery in this matter regarding Acxiom’s analysis, the “marketability”
                of Frank’s users, Frank’s relationships with Sallie Mae and other enterprises,
                JPMC’s transaction costs, Frank’s historical financial performance, documents
                provided to JPMC via Frank’s virtual data room, publicly available reports


         10
               Harroch, Richard, et al., “A Comprehensive Guide to Due Diligence Issues in Mergers and
Acquisitions,”            Forbes,             March            27,           2019,            available     at
https://www.forbes.com/sites/allbusiness/2019/03/27/comprehensive-guide-due-diligence-issues-mergers-and-
acquisitions/;       “Due         Diligence,”      Corporate        Finance        Institute,     available at
https://corporatefinanceinstitute.com/resources/valuation/due-diligence-overview/.
         11
             JPMorgan Chase & Co. Transaction Summary, S&P Capital IQ; JPMorgan Chase Acquiring a Leading
Travel and Loyalty Business, Chase (Dec. 28, 2020), https://media.chase.com/news/jpmorgan-chase-acquiring-a-
leading-travel-and-loyalty-business; Jaya Saxena, Restaurant Website the Infatuation Has Been Bought by JPMorgan
Chase, Eater (Sept. 10, 2021), https://www.eater.com/22665350/the-infatuation-zagat-acquired-by-jp-morgan-chase-
bank; Investment Banking Scorecard, Dealogic, https://ibapp.dealogic.com/scorecard.
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                   concerning the typical subject matter of due diligence, 12 and data concerning U.S.
                   college enrollment. 13

                         The representation regarding Frank’s 4.25 million “users” was not tested or
                          verified in any meaningful way.

                               •   The superficial nature of the data validation exercise that Acxiom
                                   conducted at JPMC’s request is also evidenced by communications
                                   between JPMC Deal Team members and the fact that Acxiom’s
                                   associated fees were only $1,695, a small fraction of the transaction
                                   costs for the deal.

                         There was no apparent effort by JPMC to reconcile apparent inconsistencies
                          across documents in the Frank data room, including Frank’s unaudited
                          financial statements, and the representation concerning 4.25 million
                          “users.”

                         In addition, JPMC’s acquisition of Frank does not appear to have been
                          driven primarily by Frank’s 4.25 million “user” base because there are many
                          indicators that JPMC’s decision-making process was disconnected from a
                          thorough assessment of Frank’s overall value proposition. Prof. Meadow’s
                          testimony will be based on his experience conducting due diligence, Frank’s
                          historical financial statements, JPMC’s valuation models concerning Frank
                          on a standalone and integrated basis, ongoing discovery in this matter
                          concerning JPMC’s valuation of Frank and Frank’s relationships with Sallie
                          Mae and other enterprises, and publicly available data and reports
                          concerning U.S. college enrollment, 14 the FAFSA application process, 15
                          and valuation assumptions and methods. 16 JPMC’s projections of Frank’s
        12
             Harroch, supra note 10; Due Diligence, supra note 10.
        13
             Melanie Hanson, College Enrollment & Student Demographic Characteristics, Education Data Initiative
(Jan. 10, 2024), https://educationdata.org/college-enrollment-statistics.
        14
             Id.
          15
              Changes in Federal Financial Aid, Morgan State University, https://www.morgan.edu/office-of-
financial-aid/applying-for-aid/federal-aid-changes; FAFSA Data by Demographic Characteristics, Federal Student
Aid: An Office of the U.S. Department of Education, https://studentaid.gov/data-center/student/application-
volume/fafsa-school-state; FAFSA Report Definitions, Federal Student Aid: An Office of the U.S. Department of
Education, https://studentaid.gov/data-center/student/application-volume/fafsa-school-state#fafsa-report-definitions;
Table            331.30,            National           Center          for           Education            Statistics,
https://nces.ed.gov/programs/digest/d23/tables/dt23_331.30.asp; 2021: How America Pays for College, Sallie Mae
(2021), https://www.salliemae.com/content/dam/slm/writtencontent/Research/HowAmericaPaysforCollege2021.pdf.
        16
               Ankul Aggarwal & Nitin Behl, Start-ups and Early Stage Companies, KPMG (May 2021),
https://assets.kpmg.com/content/dam/kpmg/kw/pdf/insights/2021/05/valuation-startup-web.pdf; Sanjai Bhagat, Why
do venture capitalists use such high discount rates?, 15 THE J. OF RISK FIN. (2014), https://leeds-
faculty.colorado.edu/bhagat/Bhagat-JRF-2014.pdf; RICHARD A. BREALEY ET AL., PRINCIPLES OF CORPORATE
FINANCE (13th ed. 2020); Aswath Damodaran, Cost of Equity and Capital (US), NYU Stern,
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                            future financial performance represent a dramatic departure from Frank’s
                            historical financial performance. In Prof. Meadow’s experience, a critical
                            evaluation of a company’s prospects typically begins with a review of the
                            company’s historical track record; 17 Frank’s historical unaudited financials
                            indicate that Frank was essentially pre-revenue over the four-year life of the
                            company.

                           If it is the Government’s contention that JPMC believed that 4.25 million
                            “users” was a representation of current Frank customers actively using
                            Frank’s FAFSA tool and other services, then there was no apparent effort
                            by JPMC to reconcile that representation with the large market penetration
                            that this representation implied. 18 Prof. Meadow has seen no evidence in the
                            portions of the discovery that he has reviewed that the JPMC Deal Team
                            questioned this implication.

                           Frank’s competitive advantage was limited. The company operated in a
                            space with low barriers to entry, as documents in the discovery suggest
                            Frank’s technology was simple, easily replicated and not protected by
                            patents; with uncertainty associated with the scalability and utility of


https://pages.stern.nyu.edu/~adamodar/New_Home_Page/datafile/wacc.html; Aswath Damodaran, Estimating
Growth, NYU Stern, https://pages.stern.nyu.edu/~adamodar/pdfiles/valn2ed/ch11.pdf; Aswath Damodaran, Margins
by Sector (US), NYU Stern (Jan. 2024); Aswath Damodaran, Revenue Multiples and Sector-Specific Multiples, NYU
Stern, https://pages.stern.nyu.edu/~adamodar/pdfiles/valn2ed/ch20.pdf; Aswath Damodaran, Valuing Young, Start-up
and Growth Companies: Estimation Issues and Valuation Challenges, NYU Stern (May 2009),
https://pages.stern.nyu.edu/~adamodar/pdfiles/papers/younggrowth.pdf; Alex Edmans, Dangers of Using a
Company-Wide Discount Rate, Alex Edmans (Mar. 13, 2015), https://alexedmans.com/dangers-of-using-a-company-
wide-discount-rate; Amy E. Knaup and Merisa C. Piazza, Business Employment Dynamics data: survival and
longevity, II, MONTHLY LAB. REV. 3, (Sept. 2007), https://www.bls.gov/opub/mlr/2007/09/art1full.pdf; Petras
Misiũnas et al., PwC Deals Insights: How to Value a Start-Up Business, PwC, https://www.pwc.com/lv/en/news/how-
to-value-start-up-business.html; DANIEL R. SCHERLIS & WILLIAM A. SAHLMAN, A METHOD FOR VALUING HIGH-RISK,
LONG-TERM, INVESTMENTS: THE VENTURE CAPITAL METHOD (Harvard Business School Teaching Note 9-288-006,
1989).
         17
               See Aswath Damodaran, Valuing Young, Start-up and Growth Companies: Estimation Issues and
Valuation Challenges, NYU Stern (May 2009), https://pages.stern.nyu.edu/~adamodar/pdfiles/papers/
younggrowth.pdf at 21 (“[M]any entrepreneurs have brilliant ideas but do not have the management and business
skills to take it to commercial fruition. That is part of the reason that venture capitalists look for entrepreneurs who
have had a track record of success in the past.”); Richard Harroch et al., A Comprehensive Guide to Due Diligence
Issues in Mergers and Acquisitions, Forbes (Mar. 27, 2019), https://www.forbes.com/sites/allbusiness/2019/03/27/
comprehensive-guide-due-diligence-issues-mergers-and-acquisitions/ (“The buyer will be concerned with all of the
seller’s historical financial statements…. Are the seller’s financial projections for the future and underlying
assumptions        reasonable    and      realistic?”);    Due      Diligence,     Corporate       Financial    Institute,
https://corporatefinanceinstitute.com/resources/valuation/due-diligence-overview (“What do the financial statements
imply about the performance and condition of the company? … Are future projections reasonable and believable?”).
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              See Melanie Hanson, College Enrollment & Student Demographic Characteristics, Education Data
Initiative (Jan. 10, 2024), https://educationdata.org/college-enrollment-statistics (table “Total College Enrollment
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enrollment was 18,659,851 students).
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                          Frank’s FAFSA tool; 19 and uncertainty associated with Frank’s brand
                          appeal and third-party relationships upon integration with JPMC. All of
                          these factors posed significant, readily apparent risks regarding Frank’s
                          ability to attract users.

             o Given that the JPMC Deal Team does not appear to have conducted a thorough
               assessment of (i) Frank’s “user” base, nor (ii) Frank’s overall value proposition, it
               is reasonable to infer that JPMC’s acquisition of Frank was driven by other factors
               and may have been influenced by a directive to, in essence, “get the deal done.”
               Prof. Meadow’s testimony will be based on ongoing discovery in this matter
               concerning JPMC’s due diligence process, a JPMC earnings call transcript, 20 the
               JPMC CEO’s 2020 letter to shareholders, 21 JPMC’s financial data, 22 publicly
               available data and news articles concerning historical transactions involving
               JPMC, 23 and publicly available data concerning historical transactions involving
               companies that share Frank’s Standard Industry Classification code. 24




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             JPMorgan Chase & Co. FQ3 2021 Earnings Call Transcript (Oct. 13, 2021).
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2024, S&P Global (Apr. 30, 2024), https://www.spglobal.com/marketintelligence/en/news-insights/research/the-
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2021-09-22; JPMorgan Chase acquires college financial planning platform Frank, Reuters (Sept. 21, 2021),
https://www.reuters.com/business/finance/jpmorgan-chase-acquires-college-financial-planning-platform-frank-
2021-09-21; State of the Banks (Remain Positive); Six Banks to Watch; 3Q Preview, Deutsche Bank Research (Sept.
30, 2021).
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             Transactions Concerning Companies with SIC Code 7372, FactSet.
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August 29, 2024
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                                         ⁕ ⁕ ⁕

      Pursuant to Rule 16(b)(1)(C)(v), the relevant portions of the above disclosures are
approved by each of the following signatories:



 /s/ Maxime Cohen
 Maxime Cohen


 /s/ Steven Davidoff Solomon
 Steven Davidoff Solomon


 /s/ Scott Meadow
 Scott Meadow




                                                       Sincerely,

                                                       /s/ Sean S. Buckley
                                                       Sean S. Buckley
                                                       Steven G. Kobre
                                                       Alexandria E. Swette
                                                       Ana Frischtak
                                                       KOBRE & KIM LLP
                                                       800 Third Ave
                                                       New York, NY 10022
                                                       Tel: (212) 488-1200
                                                       Fax: (212) 488-1220
                                                       Sean.Buckley@kobrekim.com
                                                       Steven.Kobre@kobrekim.com
                                                       Alexandria.Swette@kobrekim.com
                                                       Ana.Frischtak@kobrekim.com

                                                       Counsel for Defendant Olivier Amar
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           APPENDIX A
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                                                             July 15, 2024


By Email

AUSA Dina McLeod
AUSA Micah F. Fergenson
AUSA Rushmi Bhaskaran
AUSA Nicholas W. Chiuchiolo
United States Attorney’s Office
Southern District of New York
1 Saint Andrews Plaza
New York, New York 10007


       Re:      USA v. Javice, et al., 23 Cr. 251 (AKH)

Dear Counsel:

       On behalf of Mr. Olivier Amar, we provide the following disclosure of expert witnesses
and anticipated testimony that Mr. Amar may present at trial. This disclosure is based on the
experts’ current review of documents, which is ongoing. We reserve the right to supplement and/or
amend this disclosure.

Dr. Maxime Cohen

      As set forth in his curriculum vitae, which is attached as Exhibit A, Dr. Cohen is an expert
       in data science, analysis, and the use of large data sets in both business and research
       contexts, including user data. Dr. Cohen has a PhD in Operations Research from MIT and
       has worked as a researcher for Google AI, IBM Research, and Oracle Corporation. He is
       currently the Scale AI Professor of Retail and Operations Management and Director of
       Research at McGill University. His research interests include the optimization of business
       operational decisions and the application of these tools in the retail sector. He also serves
       in an advisory capacity for several companies in the AI and data science space.

      In forming his opinions, Dr. Cohen will rely upon his education, knowledge, experience,
       and training in data science and analysis. As part of the basis for his opinions, Dr. Cohen
       may rely upon his own research and publications and upon his experience consulting with
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       companies. Dr. Cohen has also reviewed portions of the discovery produced as of the date
       of this notice.

      Based on the foregoing training and experience, as well as his review of discovery materials
       in this case, Dr. Cohen anticipates offering the following testimony and opinions at trial,
       including but not limited to:

          o JPMC’s data validation exercise, carried out by its vendor Acxiom, is surprisingly
            limited in light of industry standards and insufficient to assess and verify the alleged
            4.25 million Frank “users” in any genuine sense for various reasons, including:

                     The exercise does not appear to include any formal agreed-upon definition
                      of “users;”

                     The exercise carried out by JPMC’s vendor Acxiom appears to have only
                      verified the presence of 4.265 million rows of data and certain other select
                      data fields;

                     The exercise did not include common components of a data validation
                      exercise that seeks to confirm or analyze an existing customer base and its
                      quality, including more thorough analyses and methodologies, as well as
                      efforts to assess data integrity, user engagement, customer matching and
                      user marketability;

                     The $1,695 fee paid to Acxiom was very low and is not consistent with any
                      genuine effort to meaningfully analyze Frank’s “user” data and its quality.
                      Any data validation exercise intended to assess a substantial quantity of user
                      data to evaluate its utility for an acquisition and subsequent business
                      integration, such as what occurred here with Frank, would have typically
                      involved a much higher fee. The estimated range of the fee for a meaningful
                      data validation exercise would depend on many factors, including the
                      agreed upon scope, the methodologies to be deployed, and other terms.

          o The practice of purchasing data from third party providers, as Mr. Amar did when
            he purchased the ASL list in early August 2021, is a common practice in the tech
            industry, including, for example, for the purposes of enriching or augmenting an
            existing dataset;

          o It is relatively common for tech start-ups to lack consistent organization and data
            storage and management protocols. As a result, it is not surprising that a start-up
            like Frank may have experienced challenges accessing, consolidating and sharing
            its data during the due diligence process;

          o The use of synthetic data in the tech industry is also an established practice and can
            include many legitimate uses, such as data enrichment or augmentation, the
            provision of data to assist in the training of a machine-learning model or algorithm,
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              or the creation of data to support a proof of concept or to provide an illustrative
              example of a business model.

Prof. Steven Davidoff Solomon

      As set forth in his curriculum vitae, which is attached as Exhibit B, Prof. Solomon is an
       expert in mergers and acquisitions (“M&A”), corporate law and governance, and capital
       markets regulation. Prof. Solomon is currently a Professor of Law at UC Berkeley School
       of Law, where he teaches courses on M&A, business associations, and corporate
       governance. Prof. Solomon has authored a leading casebook on M&A and written
       extensively on issues related to corporate governance. Prof. Solomon is published regularly
       in the top legal, economic, and news publications. He has thrice been named one of the 100
       most influential people in corporate governance by the National Association of Corporate
       Directors.

      In forming his opinions, Prof. Solomon will rely upon his education, knowledge,
       experience, and his specific training in corporate law and mergers and acquisitions. As part
       of the basis for his opinions, Prof. Solomon may rely upon his own research and
       publications. Prof. Solomon has also reviewed portions of the discovery produced as of the
       date of this disclosure.

      Based on the foregoing training and experience, as well as his review of discovery materials
       in this case, Prof. Solomon anticipates offering the following opinions at trial, including
       but not limited to:

          o The transactional documents in this case are inconsistent with the Government’s
            claim that the representations regarding Frank’s “user” data were a critical or
            crucial factor driving the acquisition. The bases for this opinion include that:

                     The terms of the Merger Agreement are unusually “seller friendly,” given
                      that JPMC is one of the largest and most sophisticated financial institutions
                      in the world and the transaction involved the acquisition of a relatively new,
                      small startup company that had virtually no assets or revenue;

                     It is standard practice in a merger or purchase agreement for the buyer to
                      include specific representations and warranties on matters that the buyer
                      deems material to the transaction. Neither the final, executed Merger
                      Agreement, nor any draft Prof. Solomon has seen, contains any
                      representations and warranties regarding users or customers, projections, or
                      user or customer data. The final Merger Agreement, and drafts, also did not
                      include any 10b5 representations and warranties or any sandbagging
                      representations and warranties. Internal JPMC correspondence suggests
                      JPMC made a deliberate decision, consistent with custom and practice in an
                      M&A negotiation, to forgo insisting upon a representation and warranty on
                      the issue of “users”;
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                     Section 4.9 of the Merger Agreement expressly states that buyer could not
                      rely on any representations or documents except as set forth in the Merger
                      Agreement, JPMC had access to all books and records and assets of Frank
                      that they desired or requested, JPMC had the “full opportunity” to meet with
                      management, and made its “own inquiry and investigation” and “formed an
                      independent judgment” concerning Frank and its business and operations.

          o The Merger Agreement was negotiated and drafted by two respected, highly
            sophisticated, and experienced law firms, Dechert (representing JPMC) and Sidley
            Austin (representing Frank), which supports the conclusion that the seller-friendly
            terms of the Merger Agreement reflected deliberate choices made by JPMC and
            Frank.

Prof. Scott Meadow

      As set forth in his curriculum vitae, which is attached as Exhibit C, Prof. Scott Meadow is
       an expert in entrepreneurship, venture capital, private equity, mergers and acquisitions, and
       the due diligence processes associated with these fields. Prof. Meadow is a Clinical
       Professor of Entrepreneurship at the University of Chicago Booth School of Business,
       where he teaches courses on entrepreneurial finance, venture capital, and due diligence.
       Prof. Meadow has over 30 years of experience as a general partner in venture capital and
       private equity firms, and he has testified in a broad range of commercial disputes involving
       entrepreneurship, venture capital, private equity, mergers and acquisitions, and due
       diligence, among other subjects.

      In forming his opinions, Prof. Meadow will rely on his education, knowledge, experience,
       and his specific training in due diligence processes and entrepreneurship. As part of the
       basis for his opinions, Prof. Meadow may rely upon his own research and publications,
       research and publications authored by others, and publicly available data sources. Prof.
       Meadow has also reviewed portions of the discovery produced as of the date of this
       disclosure. To the extent that additional discovery relevant to Prof. Meadow’s opinions
       becomes available, he reserves the right to amend and/or supplement his opinions.

      Based on the foregoing training and experience, as well as his review of discovery materials
       in this case, Prof. Meadow anticipates offering the following opinions at trial, including
       but not limited to:

          o Ostensibly, the due diligence process conducted by JPMC in relation to its
            acquisition of Frank entailed many of the components of an industry-standard due
            diligence process.

                     The titles of the JPMC personnel involved in the due diligence process (the
                      “JPMC Deal Team”), the size of the JPMC Deal Team, and the nature of
                      the JPMC Deal Team’s documentation and communications (at least at a
                      surface level) suggest that the JPMC Deal Team was experienced,
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                    knowledgeable, and capable of conducting a due diligence process that was
                    appropriate and consistent with industry standards.

         o JPMC’s acquisition of Frank does not appear to have been driven primarily by the
           representation concerning Frank’s 4.25 million “user” base because there are many
           indicators that JPMC’s decision-making process was disconnected from a thorough
           assessment of Frank’s “user” base.

                   The representation regarding Frank’s 4.25 million “users” were not tested
                    or verified in any meaningful way.

                           The superficial nature of the data validation exercise that Acxiom
                            conducted at JPMC’s request is also evidenced by communications
                            between JPMC Deal Team members and the fact that Acxiom’s
                            associated fees were only $1,695, a small fraction of the transaction
                            costs for the deal.

                   There was no apparent effort by JPMC to reconcile apparent inconsistencies
                    across documents in the Frank data room, including Frank’s unaudited
                    financial statements, and the representation concerning 4.25 million
                    “users.”

         o In addition, JPMC’s acquisition of Frank does not appear to have been driven
           primarily by Frank’s 4.25 million “user” base because there are many indicators
           that JPMC’s decision-making process was disconnected from a thorough
           assessment of Frank’s overall value proposition.

                   JPMC’s projections of Frank’s future financial performance represent a
                    dramatic departure from Frank’s historical financial performance.

                   If it is the Government’s contention that JPMC believed that 4.25 million
                    “users” was a representation of current Frank customers actively using
                    Frank’s FAFSA tool and other services, then there was no apparent effort
                    by JPMC to reconcile that representation with the large market penetration
                    that this representation implied.

                   Frank’s competitive advantage was limited. The company operated in a
                    space with low barriers to entry, with uncertainty associated with the
                    scalability and utility of Frank’s FAFSA tool, and uncertainty associated
                    with Frank’s brand appeal and third-party relationships upon integration
                    with JPMC. All of these factors posed significant, readily apparent risks
                    regarding Frank’s ability to attract users.

         o Given that the JPMC Deal Team does not appear to have conducted a thorough
           assessment of (i) Frank’s “user” base, nor (ii) Frank’s overall value proposition, it
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               is reasonable to infer that JPMC’s acquisition of Frank was driven by other factors
               and may have been influenced by a directive to, in essence, “get the deal done.”

                                             ⁕ ⁕ ⁕

       Mr. Amar reserves the right to amend and/or supplement these disclosures based upon,
among other things, additional discovery produced, any government expert disclosures, counsel’s
ongoing review of the recent productions, trial preparation, disclosures about anticipated witness
testimony, and ultimately the evidence (testimonial or opinion) offered in the government’s direct
case.

        Pursuant to Federal Rules of Criminal Procedure Rule 16(b)(1)(C)(v), the relevant portions
of the above disclosures are approved by each of the following signatories:



 /s/ Maxime Cohen
 Maxime Cohen


 /s/ Steven Davidoff Solomon
 Steven Davidoff Solomon


 /s/ Scott Meadow
 Scott Meadow
    Case 1:23-cr-00251-AKH     Document 205-5        Filed 01/13/25   Page 20 of 73

AUSAs McLeod, Fergenson, Bhaskaran, and Chiuchiolo
July 15, 2024
Page 7



                                                       Sincerely,

                                                       /s/ Sean S. Buckley
                                                       Sean S. Buckley
                                                       Steven G. Kobre
                                                       Alexandria E. Swette
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                                                       Ana.Frischtak@kobrekim.com

                                                       Counsel for Defendant Olivier Amar
Case 1:23-cr-00251-AKH   Document 205-5   Filed 01/13/25   Page 21 of 73




               EXHIBIT A
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                                 Maxime C. Cohen                                         Last update: July 2024
                                    Email: ma xcco hen@gmail.com
                                   Website: http://www.maximecohen.com

I am the Scale AI Chair Professor of Retail and Operations Management and Director of Research at McGill
University. I am also a Visiting Professor of Operations Management and a Shubik Fellow at Yale School of
Management (2023-2024). I am the Chief AI Officer of ELNA Medical and the Scientific Director of the non-
profit MyOpenCourt.org. I am also a Scientific Advisor in AI at IVADO Labs, and I am actively advising
corporations, retailers, and startups on topics related to pricing, retail, and data science. I have worked on
retail, ride-sharing, airline, sustainability, cloud computing, online advertising, peer-to-peer lending, real
estate, healthcare, and conflict analytics. I have collaborated with many companies including Google AI,
Microsoft, Meta, Uber, Waze, Oracle Retail, IBM Research, Via, Spotify, Aldo Group, Couche-Tard/Circle K,
Loblaws, Canadian Tire, L’Oréal, Cargo, and Staples and I am on the advisory board of several startups. My
research and teaching have received 30+ awards, including Poets&Quants Best 40-Under-40 MBA
Professors, RETHINK Retail’s Top Retail Influencers, MSOM Young Scholar Prize, and Best OM Paper in
Management Science. Finally, I’ve served on the editorial board of several leading Operations journals (DE at
POM and Service Science, AE at Management Science, OR, and M&SOM).
Education
2010 – 2015       MIT, Cambridge, MA
                 Ph.D. in Operations Research - Operations Management Track - GPA: 5/5
                 Thesis: Pricing for Retail, Social Networks, and Green Technologies
2006 – 2009      Technion, Haifa, Israel
                 M.S. in Electrical Engineering - GPA: 96/100
                 Thesis: Network Time Synchronization Using Decentralized Kalman Filtering
2002 – 2006      Technion, Haifa, Israel
                 B.S. in Aerospace Engineering, Summa Cum Laude - GPA: 93.5/100 (top 2%)
                 Courses in the EE Department - GPA: 98.1/100
Current Positions
2023 – 2024      Yale University, New Haven, CT
                 Visiting Professor of Operations Management and Shubik Fellow
2019 –           McGill University, BSRM and Desautels Faculty of Management, Montreal, Canada
                  2021 – present: Scale AI Chair in Data Science for Retail
                 2021 – present: Full Professor of Retail and Operations Management
                 2019 – 2021: Associate Professor (with tenure)
                  Scale AI Chair in Data Science for Retail
                  Director of Research at the Bensadoun School of Retail Management
                  Co-Director of the Retail Innovation Lab and Bensadoun Faculty Scholar (2019-2022)
                  Associate Member, Electrical and Computer Engineering Department (by courtesy)
2022 –           ELNA Medical, Montreal, Canada
                 Chief AI Officer
2023 –           Intégral, Montreal, Canada
                 Director of Artificial Intelligence



                                                       1
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2020 –          IVADO Labs, Montreal, Canada
                Scientific Advisor in AI and Data Science
2018 –          Conflict Analytics Lab, Canada
                2018 – present: Associate Director for Strategy and Partnership
2020 –          MyOpenCourt.org, Canada
                Scientific Director
2017 –          Several startups
                Advisor or Member of the Advisory Board
Employment History
2018 – 2021     Google/Waze, U.S., and Israel
                2019 – 2021: Research Collaborator
                2018 – 2019: Advisor at Google (via Adecco) - Pricing and Incentives Lead at Waze
2019 – 2020     Aldo Group, Montreal, Canada
                Strategic Advisor in Pricing and Data Science
2017 – 2021     Sarona Ventures, Tel Aviv, Israel
                Advisor
2016 – 2019     New York University, Stern School of Business, New York, NY
                 Assistant Professor of Technology, Operations, and Statistics
2015 – 2016     Google AI, Research Team, New York, NY
                Postdoctoral Research Scientist
   2012         IBM T. J. Watson Research Center, Yorktown Heights, NY
(Summer)        Research Intern - Business Analytics and Math Sciences

2012 & 2013     Oracle Corporation, Burlington, MA
 (Winter)       Research Scientist Intern - Retail Global Business Unit

2007 – 2011       Eurolaxo Ltd, Israel
                 Co-Founder and Partner - Real Estate Investment Company
   2009         Matrix ABC Capital Markets Ltd (merged into GHF group), Israel
                High-Frequency Trader

Published and Accepted Papers
1. M. C. Cohen, R. Lobel, G. Perakis, “The Impact of Demand Uncertainty on Consumer Subsidies for
   Green Technology Adoption,” Management Science 62(5):1235-1258, 2016

2. M. C. Cohen, Z. Leung, K. Panchamgam, G. Perakis, A. Smith, “The Impact of Linear Optimization on
   Promotion Planning,” Operations Research 65(2):446-468, 2017

3. L. Baardman, M. C. Cohen, K. Panchamgam, G. Perakis, D. Segev, “Scheduling Promotion Vehicles to
   Boost Profits,” Management Science 65(1):50-70, 2019

4. J. Chemama, M. C. Cohen, R. Lobel, G. Perakis, “Consumer Subsidies with a Strategic Supplier:
   Commitment vs. Flexibility,” Management Science 65(2):681-713, 2019



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6. M. C. Cohen, R. Lobel, G. Perakis, “Dynamic Pricing Through Data Sampling,” Production and
   Operations Management 27(6):1074-1088, 2018

7. M. C. Cohen, P. Keller, V. Mirrokni, M. Zadimoghaddam, “Overcommitment in Cloud Services - Bin
   Packing with Chance Constraints,” Management Science 65(7):3255-3271, 2019 and accepted to the 2017
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8. M. C. Cohen, P. Harsha, “Designing Price Incentives in a Network with Social Interactions,”
   Manufacturing & Service Operations Management 22(2):292-309, 2020

9. M. C. Cohen, C. D. Guetta, K. Jiao, F. Provost, “Data-Driven Investment Strategies for Peer-to-Peer
    Lending,” Big Data 6(3):191-213, 2018
10. M. C. Cohen, S. Gupta, J. J. Kalas, G. Perakis, “An Efficient Algorithm for Dynamic Pricing Using a
    Graphical Representation,” Production and Operations Management 29(10):2326-2349, 2020

11. M. C. Cohen, I. Lobel, R. Paes Leme, “Feature-Based Dynamic Pricing,” Management Science
    66(11):4921-4943, 2020 (lead article) and accepted to the 2016 ACM Conference on Economics &
    Computation

12. M. C. Cohen, G. Perakis, R. Pindyck, “A Simple Rule for Pricing with Limited Knowledge of Demand,”
    Management Science 67(3):1608-1621, 2021 and accepted to the 2016 ACM Conference on Economics &
    Computation

13. M. C. Cohen, J. J. Kalas, G. Perakis, “Promotion Optimization for Multiple Items in Supermarkets,”
    Management Science 67(4):2340-2364, 2021

14. M. C. Cohen, M. D. Fiszer, B. J. Kim, “Frustration-Based Promotions: Field Experiments in Ride-
    Sharing,” Management Science, 68(4):2432-2464, 2022

15. D. Lopez Mateos, M. C. Cohen, N. Pyron, “Field Experiments for Testing Revenue Strategies in the
    Hospitality Industry,” Cornell Hospitality Quarterly 63(2):247-256, 2022

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    Operations Management, 31(2):478-494, 2022

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    Experiment with Waze,” Manufacturing & Service Operations Management, 25(4):1263-1284, 2023

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    Management Science, 68(12):8536-8552, 2022; accepted to the 2021 ACM Conference on Fairness,
    Accountability, and Transparency and to the 2020 Workshop on Mechanism Design for Social Good

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    Operations Management, 31(5):1997-2014, 2022

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    from a Ride-Sharing Platform,” Information Systems Research, 34(2):698–720, 2023


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22. R. Bekkerman, M. C. Cohen, E. Kung, D. Proserpio, “The Effect of Short-Term Rentals on Residential
    Investment,” Marketing Science, 42(4):819–834, 2023. Accepted to the 2022 ACM Conference on
    Economics & Computation, CIST 2021, 2021 North American Meeting of the Urban Economics
    Association, and 2022 Frank M. Bass FORMS Conference

23. M. C. Cohen, A. Jacquillat, H. Song, “Price Discrimination and Inventory Allocation in Bertrand
    Competition,” Manufacturing & Service Operations Management, 25(1): 148-167, 2023

24. M. C. Cohen, S. Dahan, W. Khern-am-nuai, H. Shimao, J. Touboul, “The Use of AI in Legal Systems:
    Determining Independent Contractor vs. Employee Status,” Artificial Intelligence and Law, 2023.
    Accepted to the 2022 Conference on Empirical Legal Studies

25. M. C. Cohen, A. Desir, N. Korula, B. Sivan, “Best of Both Worlds Ad Contracts: Guaranteed Allocation
    and Price with Programmatic Efficiency,” Management Science, 29(7):4027-4050, 2023
26. M. C. Cohen, A. Jacquillat, A. Ratzon, R. Sasson, “The Impact of High-Occupancy Vehicle Lanes on
    Carpooling,” Transportation Research Part A: Policy and Practice, 165 (2022) 186-206, 2022

27. G. Allon, M. C. Cohen, W. P. Sinchaisri, “The Impact of Behavioral and Economic Drivers on Gig
    Economy Workers,” Manufacturing & Service Operations Management, 25(4):1376-1393, 2023

28. M. C. Cohen, A. Jacquillat, J. C. Serpa, M. Benborhoum, “Managing Airfares Under Competition:
    Insights From a Field Experiment,” Management Science, 69(10):6076-6108, 2023

29. Y. Adulyasak, O. Benomar, A. Chaouachi, M. C. Cohen, W. Khern-am-nuai, “Data Analytics to Detect
    Panic Buying and Improve Products Distribution Amid Pandemic,” AI & Society: Knowledge, Culture
    and Communication, 2023. Accepted to the 2020 Workshop on Information Technologies and Systems

30. W. Khern-am-nuai, H. So, M. C. Cohen, Y. Adulyasak, “Selecting Cover Images for Restaurant Reviews:
    AI vs. Wisdom of the Crowd,” Manufacturing & Service Operations Management, 26(1):330-349, 2024

31. N. Bandi, M. C. Cohen, S. Ray, “Incentivizing Healthy Food Choices Using Add-on Bundling: A Field
    Experiment,” Forthcoming in Manufacturing & Service Operations Management

Managerial Articles
32. L. Baardman, M. C. Cohen, K. Panchamgam, G. Perakis, “Using Business Analytics to Upgrade Sales
    Promotions,” Management and Business Review, 1(3):54-63, Fall 2021

33. S. Zhu, M. C. Cohen, S. Ray “How In-Store Tech Will Transform Retail,” MIT Sloan Management
    Review, 63(1):18-20, Fall 2021 Issue

34. M. C. Cohen, S. Dahan, C. Rule “Conflict Analytics: When Data Science Meets Dispute Resolution,”
    Management and Business Review, 2(2):86-93, Spring 2022 Issue

35. M.C. Cohen, D. Mitrofanov (with R. Bekkerman and J. Maiden) “U.S. Opportunity Zones Use Tax
    Breaks for Developers to Help Poor Neighbourhoods — But Are They Choosing Wisely?” Published in
    The Conversation, National Post, and Yahoo News, 2021

36. R. Bekkerman, M. C. Cohen, E. Kung, D. Proserpio, “Research: Restricting Airbnb Rentals Reduces
    Development,” Harvard Business Review, Digital Article, November 2021




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37. A. Damodaran, D. McCarthy, M. C. Cohen, “IPO Disclosures Are Ripe for Reform,” MIT Sloan
    Management Review, 63(4):55-61, Summer 2022 Issue

38. R. Bekkerman, D. Warde, M. C. Cohen, “Measuring Gentrification,” Summit Journal AFIRE, Issue 12,
    2023

39. Y. Adulyasak, M. C. Cohen, W. Khern-am-nuai, and M. Krause, “Retail Analytics in the New Normal:
    The Influence of Artificial Intelligence and the Covid-19 Pandemic,” IEEE Engineering Management
    Review, 52(1):268-280, 2024

40. M. C. Cohen, C. S. Tang, “The Role of AI in Developing Resilient Supply Chains,” Georgetown Journal
    of International Affairs, 2024

41. M. C. Cohen, A. Kitain, D. Marconi, A. Raftery, “Lessons from More Than 1,000 E-Commerce Pricing
    Tests,” Harvard Business Review, Digital Article, March 2024

Books and Book Chapters
42. M. C. Cohen, P. E. Gras, A. Pentecoste, R. Zhang, “Demand Prediction in Retail - A Practical Guide to
    Leverage Data and Predictive Analytics,” Springer Series in Supply Chain Management 14, 2022 (ISBN
    978-3030858551)
43. L. Dubé, M. C. Cohen, N. Yang, B. Monla (Eds.), “Precision Retailing: Driving Results with Behavioral
    Insights and Data Analytics,” University of Toronto Press, 2024 (ISBN 978-1487542719)

44. N. Bandi, M. C. Cohen, S. Ray, “Behavioral Retail Operations: Tactics to Win Customers,” Foundations
    and Trends® in Technology, Information and Operations Management, Forthcoming

45. M. C. Cohen, G. Perakis, “Optimizing Promotions for Multiple Items in Supermarkets,” Channel
    Strategies and Marketing Mix in a Connected World, (Eds.) S. Ray and S. Yin, Springer Series in Supply
    Chain Management 9, 2020

Under Review and Working Papers
   H. Shimao, W. Khern-am-nuai, K. Kannan, M. C. Cohen, “Addressing Fairness in Machine Learning
   Predictions: Strategic Best-Response Fair Discriminant Removed Algorithm,” 3rd Major Revision in
   Information Systems Research and published in the 2022 AAAI/ACM Conference on Artificial
   Intelligence, Ethics, and Society

   S. Chitla, M. C. Cohen, S. Jagabathula, D. Mitrofanov, “Customers' Multihoming Behavior in Ride-
   hailing: Empirical Evidence Using a Structural Model,” Major Revision in Manufacturing & Service
   Operations Management

   M. C. Cohen, S. Miao, Y. Wang, “Dynamic Pricing with Fairness Constraints,” Major Revision in
   Operations Research

   R. Bekkerman, M. C. Cohen, X. Liu, John Maiden, D. Mitrofanov, “The Impact of the Opportunity Zone
   Program on Residential Real Estate,” Minor Revision in Manufacturing & Service Operations
   Management

   M. Unger, P. Li, M. C. Cohen, B. Brost, A. Tuzhilin, “Bridging Listeners with Artists: Deep Multi-
   Objective Multi-Stakeholder Music Recommendations,” Major Revision in Management Science



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  D. Kim, Y. Son, W. Khern-am-nuai, M. C. Cohen, “Motivating Runners in Real Time: A Field
  Experiment,” Submitted

  J. Tanlamai, W. Khern-am-nuai, M. C. Cohen, “Generative AI and Price Discrimination in the Housing
  Market,” Submitted

  X. Tan, Z. Qi, L. Tang, M. C. Cohen, “A General Framework for Robust Individualized Decision
  Learning with Sensitive Variables,” Submitted

  N. Tarighat, M. C. Cohen, J. Clark, “Domain Adaptation for Retail Demand Prediction,” Submitted

  G. Allon, M. C. Cohen, K. Moon, P. Sinchaisri, “Managing Multihoming Workers in the Gig Economy,"
  Submitted

  H. Shimao, S. J. Kim, W. Khern-am-nuai, M. C. Cohen “Revisiting the CEO Effect Through a Machine
  Learning Lens,” Submitted

  Z. Jalali, M. C. Cohen, N. Ertekin, M. Gumus, “Vertical Product Location Effect on Sales: A Field
  Experiment in Convenience Stores,” Submitted

  A. Borah, M. C. Cohen, D. Mitrofanov, “Myopic Price Promotions in IPOs: Evidence from Ride-Hailing
  Platforms,” Working paper

  Z. Jalali, M. C. Cohen, N. Ertekin, M. Gumus, “Offline-Online Retail Collaboration via Pickup
  Partnership,” Working paper

Conference Publications
  M. C. Cohen, I. Lobel, R. Paes Leme, “Ellipsoids for Contextual Dynamic Pricing,” SIGecom Exchanges,
  vol. 15, no. 2, pp. 40-44, 2017

  M. C. Cohen, N. Shimkin, “Decentralized algorithms for sequential network time synchronization,”
  Proc. NETCOOP 2010 – 4th Workshop on Network Control and Optimization, 2010, pp. 97-104

Theses
  M. C. Cohen, “Pricing for Retail, Social Networks and Green Technologies,” Ph.D. Thesis, Massachusetts
  Institute of Technology, 2015

  M. C. Cohen, “Network Time Synchronization Using Decentralized Kalman Filtering,” M.S. Thesis,
  Technion, 2009

Case Studies
  M. C. Cohen, C. D. Guetta, W. Xiao, “Supply Chain Coordination and Contracts in the Sharing Economy
  - a Case Study at Cargo,” Columbia CaseWorks 180203, 2018. Available via Harvard Business Publishing
  M. C. Cohen, G. Perakis, “Optimizing Promotions for Supermarkets Using Data Analytics,” Published at
  thecasecentre.org, 2017
  M. C. Cohen, W. Xiao, “Managing Champagne Inventory in a Liquor Store” (available upon request)
  M. C. Cohen, C. D. Guetta, M. Reed, “Modern Retail Analytics: Data Visualization Using Tableau,”
  Featured as a content piece on the Tableau Instructor Resource Page, 2020
  M. C. Cohen, A. Sylvestre, A. Corbasson, J. Abbou, “Danone & Digitad: Building a Data-Driven Digital



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   Marketing Strategy,” 2020
   U. Ahmad, M. C. Cohen, S. Jagabathula, “Intelligems: Pricing in the Online World,” 2022

Patents
   US20170140414 A1 – “Computerized Promotion Price Scheduling Utilizing Multiple Product Demand
   Model” Published in 2017 and granted in 2020 (M. C. Cohen, J. J. Kalas, K. Panchamgam, G. Perakis)
   US20150081393 A1 – “Product Promotion Optimization System”
   Published in 2015 (M. C. Cohen, Z. Leung, K. Panchamgam, G. Perakis)
   US20150006267 A1 – “Designing Price Incentives in a Network with Social Interactions”
   Published in 2015 (M. C. Cohen, P. Harsha, M. Ettl)
   US20130275183 A1 – “Time-Dependent Product Pricing Optimizer”
   Published in 2013 (M. C. Cohen, K. Panchamgam, A. Vakhutinsky)

Teaching Experience
2023 – 2024    McGill University, Montreal, Canada
               ISCAE-McGill Mini MBA, Executive Institute, Data-Driven Decision Making

2022 – 2023    McGill University, Montreal, Canada
               International Masters Program for Managers, Analytics and AI for Managers Course

2020 – 2024    McGill University, Montreal, Canada
               Mini MBA, Executive Institute, Marketing for Integrated Management Thinking and
               Executive Development Course; Analytics & AI for Advanced Management Course
2022 & 2024    McGill University, Montreal, Canada
               Retail Executive Education, Excelling in the New World of Retail
2020 – 2023    McGill University, Montreal, Canada
               Operations Management undergraduate core course (2 sections of 65 students each year).
               Evals: 4.9, 4.6, 4.8, 4.9, 4.7, 4.9, 4.8, 4.9 (out of 5)

2020 – 2024    McGill University, Montreal, Canada
               Revenue Management, Master of Management in Analytics. Evals: 5, 5, 4.8, 4.9, 4.8 (out of 5)

   2022        McGill University, Montreal, Canada
               Data-Driven Retail Decisions for Master of Management in Retailing. Evals: 4.9 (out of 5)

2020 & 2021    McGill University, Montreal, Canada
               Service Analytics for Master of Management in Analytics. Evals: 4.7, 5 (out of 5)

2017 – 2019    NYU Stern, New York, NY
               Operations Management undergraduate core course (2 sections of 70 students each year).
               Evals: 6.6, 6.7, 6.5, 6.7 (out of 7), 4.8, 4.8 (out of 5)

   2019        NYU Stern, New York, NY
               Operations in the Sharing Economy (doctoral course). Evals: 5/5
   2016        NYU Stern, New York, NY




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              Lecturer for “Applying Revenue Management: Optimization in Retail” – M.S. in Business
              Analytics program - 61 students

2013 & 2014   MIT, Cambridge, MA
              Instructor for “Data, Models and Decisions: Pre-Term” – MBA refresher - 93 students

2012 – 2013   MIT, Cambridge, MA
              TA for “Introduction to Operations Management” – Elective/core MBA course
              TA for “Introduction to Healthcare Delivery” – Elective MBA and Ph.D. course

2006 – 2009   Technion, Haifa, Israel
              TA for Random Signals, Control Systems, and Non-Linear Control Systems




Students
   Ph.D. Students and Postdocs
   Baek Jung Kim (2019) – Marketing Ph.D. student at NYU (advisors: M. Ishihara and V. Singh). First
   position: Assistant Professor of Marketing, UBC Sauder School of Business
   Kevin Jiao (2019) – OM Ph.D. student at NYU. First position: FINRA, Data Scientist
   Dmitry Mitrofanov (2020) – OM Ph.D. student at NYU (advisor: Srikanth Jagabathula). First position:
   Assistant Professor of Operations Management, Boston College Carroll School of Management
   Moshe Unger (2021) – Postdoctoral fellow at NYU (main host: Alex Tuzhilin). First position: Assistant
   Professor of Technology and Information Management, Tel Aviv University
   Carlos Fernandez (2021) – IS Ph.D. student at NYU (advisor: Foster Provost). First position: Assistant
   Professor of Information Systems at HKUST
   Park Sinchaisri (2021) – OID Ph.D. student at Wharton (advisor: Gad Allon). First position: Assistant
   Professor of Operations & Information Technology at UC Berkeley Haas School of Business
   Haotian Song (2022) – OM Ph.D. student at NYU (advisor: Wenqiang Xiao). First position: Assistant
   Professor of Operations Management at Zhejiang University, School of Management
   Xiao Lei (2022) – IEOR Ph.D. student at Columbia University (advisor: Adam Elmachtoub). First
   position: Assistant Professor at University of Hong Kong, HKU Business School
   Hajime Shimao (2023) – Postdoctoral fellow at McGill (co-advisor with Warut Khern-am-nuai). First
   position: Assistant Professor of Data Analytics at Penn State University, Engineering Division
   Banafsheh Asadi (2023) – Postdoctoral fellow at McGill (co-advisor with Derek Nowrouzezahrai)
   Zahra Jalali (2024) – OM Ph.D. student at McGill Desautels (co-advisor with Mehmet Gumus). First
   position: Amazon, Research Scientist
   Sandeep Chitla – OM Ph.D. student at NYU (advisor: Srikanth Jagabathula)
   Nymisha Bandi – OM Ph.D. student at McGill Desautels (co-advisor with Saibal Ray)
   Liting Chen – OM Ph.D. student at McGill Desautels (co-advisor with Sentao Miao)
   Mehran Poursoltani – Postdoctoral fellow at McGill
   Doehun Kim – Postdoctoral fellow at McGill (co-advisor with Warut Khern-am-nuai)
   Thesis committee: Claudio Sole (Polytechnique Montréal), Recep Bekci (McGill), Mehran Poursoltani
   (HEC Montréal), Yang Chen (Queen’s University)



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  M.S. and UG Students
  Weitao Lin (2018) – M.S. in Data Science at NYU. First Position: RBC Capital Markets, Data Scientist
  Marcos Galante (2018) – NYU UG Stern Honors. First Position: Goldman Sachs, Investment Banking
  Junge Zhang (2020) – M.S. in Data Science at NYU. First position: BOSS直聘, Algorithm Engineer
  Matthieu Reed (2020) – McGill UG Integrated Management Fellow. First Position: Gorilla Group,
  Business Analyst
  Selena Zhu (2020) – McGill UG Integrated Management Fellow. First Position: Lazard, Investment
  Banking Analyst
  Arthur Pentecoste (2020) – McGill Master in Analytics. First Position: BCG GAMMA, Data Scientist
  Paul-Emile Gras (2020) – McGill Master in Analytics. First Position: Virtuo, Data Scientist
  Zacharie Houle (2021) – McGill UG Integrated Management Fellow. First Position: Ernst & Young, Staff
  Accountant
  Tiancheng Zhang (2021) – McGill Master in Analytics. First Position: Cardinal Operations, Operations
  Research Algorithms Engineer
  Niloofar Tarighat (2022) – M.S. in Electrical and Computer Eng at McGill (co-advisor with James Clark).
  First position: Data Scientist at CIBC
  Uzair Ahmad (2022) – McGill Master in Analytics. First position: Data Scientist at ELNA Medical
  Ken Lee – M.S. in Computer Science at McGill (co-advisor with Derek Nowrouzezahrai)
  Tony Xu – M.S. in Electrical and Computer Engineering at McGill (co-advisor with James Clark)
  Huzbah Jagirdar – McGill UG Honours Economics Student
  Samara Milstein – McGill UG Student in Biomedical Sciences
  Erwan Makame – McGill UG Student in Management
  Barry Li – McGill UG Student in Computer Science

Professional Service
  Editorial Service
  Department Editor for POM – Service Operations Department (2022-present)
  Department Editor for POM – Supply Chain Management Department (2022-2024)
  Deputy Editor for Service Science (2024-present)
  Special Issue Editor for Service Science on “Impact of AI on Service Design and Delivery” (2024-2025)
  Special Issue Editor for POM on “Responsible Data Science” (2022-2024)
  Associate Editor for Management Science (2020-present)
  Associate Editor for Operations Research (2024-present)
  Associate Editor for M&SOM (2021-present)
  Senior Editor for Production and Operations Management (2017-2022)
  Guest Associate Editor for M&SOM (2020-2021)
  Guest Associate Editor for Naval Research Logistics (2020-2021)
  Associate Editor for M&SOM Special Issue on Smart City Operations (2019-2020)
  Associate Editor for M&SOM Special Issue on Sharing Economy and Marketplaces (2018-2019)
  Associate Editor for NRL Special Issue on Service Operations (2018-2019)
  Advisor and Associate Editor for Management and Business Review (2019-present)
  Chair of the INFORMS Revenue Management and Pricing Practice Award committee (2022)
  Program committee for ACM conference on Economics and Computation (2019)

  Reviewer



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  Management Science, Operations Research, Manufacturing & Service Operations Management,
  Production and Operations Management, The Review of Economics and Statistics, Naval Research
  Logistics, Management and Business Review, International Journal of Case Studies in Management,
  Networks, MSOM SIG (Service and iFORM), INFORMS Behavioral OM Best Paper Award, Hong Kong
  Research Grants Council, Canadian Mitacs Accelerate Research Program, Service Science Best Cluster
  Paper Award committee

  University and Community Service
  Expert committee member for “Réflexion collective sur l’encadrement de l’intelligence artificielle au
  Québec,” mandated by the Quebec Minister of Economy and Innovation (2023-2024)
  Mentor at Creative Destruction Lab (2023-2024)
  Committee member for “Capacités technologiques du commerce numérique,” mandated by the Quebec
  Minister of Economy and Innovation (2020)
  Scale AI's Chairs evaluation committee (2020-2021)
  Co-founder and co-organizer of NYC Operations Day (2018-2019)
  INFORMS Revenue Management and Pricing cluster chair (2019)
  External evaluator for tenure promotions (2021-2024)
  McGill Desautels departmental tenure committee (2021-2023)
  McGill Desautels PhD committee (2022-2023)
  McGill Desautels research council member (2021-2022)
  McGill ECE Capstone Advisor (2020-2022)
  McGill HEC-Montréal EMBA final paper supervisor (2021-2023)
  McGill BSRM committee: hiring, UG major and Master, courses (2019-present)
  NYU Stern MSBA Capstone Faculty Advisor (2019-2020)
  Co-organizer of McGill Annual Retail Summit (2019-2020)
  Advisory committee member for the Master of Management in Retailing at McGill (2020-2023)
  OM faculty recruitment committee member at NYU Stern (2018-2019)
  OM seminar coordinator at NYU Stern (2016-2019)
  OM Ph.D. program committee member at NYU Stern (2016-2019)
  Committee member of the New Frontiers in Research Fund (2019)
  Program committee for the INFORMS Revenue Management and Pricing Conference (2016)
  Session chair (INFORMS 2016-2021; POMS 2016, 2018)
  Coordinator for MIT ORC Seminar series (2013), Officer at INFORMS student MIT chapter (2010-2011)
Awards
  2024: First Place in the CORS Practice Prize Competition
  2024: RETHINK Retail’s Top Retail Influencers
  2023: Finalist in the INFORMS Behavioral Operations Management Best Working Paper Competition
  2023: Finalist in the INFORMS Service Science DEIJ Paper Competition
  2023: Second Place in the POMS CBOM Junior Scholar Paper Competition (student: Nymisha Bandi)
  2023: RETHINK Retail’s Top Retail Influencers
  2022: MSOM Young Scholar Prize
  2022: Poets&Quants Best 40-Under-40 MBA Professors
  2022: Finalist in the Jeff McGill Student Paper Award (student: Xiao Lei)
  2022: RETHINK Retail’s Top Retail Influencers
  2021: Best Conference Paper Nominee, Conference on Information Systems and Technology (CIST)



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  2021: Finalist in the INFORMS Service Science Best Cluster Paper Award
  2021: Finalist in the M&SOM Practice-Based Research Competition
  2020: POMS Wickham Skinner Early-Career Research Accomplishments Award
  2020: Honorable Mention in the POMS Service Operations Emerging Scholar Award
  2020: Finalist in the POMS College of Behavioral Operations Junior Scholar Paper Competition
  2020: M&SOM Meritorious Service Award
  2019: First Place in the Best OM Paper in Management Science Award
  2019: Finalist in the INFORMS Data Mining Section Best Paper Competition
  2019: Finalist in the INFORMS BOM Section Best Working Paper Competition
  2019: Best Paper Award in Operations and Supply Chain Management, Academy of Management
  2019: Honorable Mention in the ENRE Best Publication Award in Environment and Sustainability
  2019: Finalist in the INFORMS Case Competition
  2019: M&SOM Meritorious Service Award
  2018: First Place in the Best Cluster Paper Award - INFORMS Service Science
  2018: Finalist in the M&SOM Student Paper Competition (student: Baek Jung Kim)
  2018: First Place in the INFORMS Case Competition
  2018: Best Technical Presentation, AGIFORS Annual Symposium
  2018: M&SOM Meritorious Service Award
  2017: Honorable mention in the Best Cluster Paper Award - INFORMS Service Science
  2017: M&SOM Meritorious Service Award
  2016: INFORMS Revenue Management and Pricing Dissertation Award
  2016: First Place in the Best Cluster Paper Award - INFORMS Service Science
  2016: Finalist for the 2016 Service Science Section Student Paper Competition
  2015: Finalist in the INFORMS Revenue Management and Pricing Practice Award
  2015: First Place in the Best Student Paper POM Supply Chain Management
  2015: NEDSI Conference Best Application of Theory Award
  2014: First Place in the Best Student Paper - INFORMS Service Science
  2007: Winner of the Technion Creativity in Science and Technology competition
  2007: Best student project of the 47th Israel Annual Conference on Aerospace Sciences
Grants
  2023-2027: NSF-China: Resilient Operations of Urban Lifeline Systems Under Information Insufficiency - 2
  million RMB; Role: Co-applicant (with W. Qi, S. Liu, Y. Liang, L. Yu, X. Duan, J. Zhang, Y. Li, Z. Jiang, and
  X. Zhang)
  2022-2027: SSHRC Insight Grant: Understanding Fairness in Fair Machine Learning - $145,974; Role: PI (with
  W. Khern-am-nuai and Y. Adulyasak)
  2022-2024: SSHRC Insight Development Grant: Building Accessible Vaccine Support Programs - $66,168;
  Role: Co-applicant (with S. Dahan, X. Zhu, D. Fairgrieve, S. Vanderslott)
  2021-2026: NSERC Discovery Grant: Retail Innovation Lab: Blending Data Science with Cutting-Edge
  Technology - $180,000; Role: PI
  2021-2022: NSERC Discovery Supplement for Early Career Researchers - $12,500; Role: PI
  2021-2023: IVADO Postdoctoral Research Funding (for Hajime Shimao) - $70,000; Role: Co-Supervisor
  2021-2022: Mitacs Accelerate: AI-Powered Dispute Settlement (with Borden Ladner Gervais, BLG) - $60,000;
  Role: Co-PI (with S. Dahan)




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  2020-2022: SSHRC Insight Development Grant: Using Data Science and Behavioral Analytics to Alleviate
  Traffic Congestion - $67,152; Role: PI
  2020-2021: Mitacs Accelerate: Adapting Retail Practices to the Post-Pandemic (with Couche-Tard/Circle K) -
  $30,000; Role: Co-PI (with J. Clark)
  2020-2022: IVADO Fundamental Research Project Grant: Retail Innovation Lab: Data Science for Socially
  Responsible Food Choices - $221,000; Role: Co-PI (with S. Ray, J. Clark, A. Moon)
  2020-2023: Fonds de Recherche du Québec – Société et Culture (FRQSC): Data-Driven Smart City Operations
  Management: A System Coupling Perspective - $145,061; Co-Investigator (with W. Qi, M. Gendreau, X. Liu)
  2020-2021: Internal Social Sciences and Humanities Development Grant - $5,000
  2019-2022: Bensadoun Faculty Scholar Award - $60,000
  2019: Cherre’s Gift for Research Excellence: Applying Data Science to Real Estate - $10,400; Role: PI
  2019-2021: SSHRC New Frontiers Grant: AI-Tribunal for Small Claims: Building an Intelligent Dispute
  Resolution System - $244,562; Role: Co-applicant (with S. Dahan, X. Zhu, J. Serpa, Y. Levin, J. Touboul)
  2014-2015: UPS Ph.D. Fellowship (awarded to a single MIT Ph.D. student)
  2013-2014: Martin’s Fellowship for Sustainability
  2011-2012: MIT Energy Initiative Fellowship
  2006-2008: Technion Excellence Scholarship and Lady Davis Fellowship
Seminars, Conferences, and Presentations
  2024: Analysis Group, GCR Live Law Leaders Global, Boston University OM Seminar, George Washington
  University Decision Sciences Seminar, Yale SOM Seminar, Baruch College OM Seminar, Détail Québec
  Webinar, Chat GPT and AI in Marketing Infopresse Summit, Wharton OID Seminar, NYC Operations Day
  at Columbia Business School, Festival Sefarad de Montréal, Melbourne Business Analytics Conference
  (scheduled), POM DE Podcast Series (scheduled), CRA Brussels Conference (scheduled)
  2023: University of Minnesota Carlson, Pricing and Law (undisclosed law firm), Jacksonville Real Estate
  Workshop, Retail Development at Vaudreuil-Soulanges, University of Colorado Boulder, World Summit AI
  Americas, RETHINK Retail video series on Data Drivers, Keynote at Metro Corporate Event, Keynote at
  Léger Symposium, Keynote at Rutgers Supply Chain Management Conference, Keynote at Intégral
  Corporate Event, MSOM SIG Conference, Wharton Tenure Project Conference, NYU Stern MSBA Lecture,
  Léger Webinar, Keynote at Cercle Omer DeSerres, Keynote at ALL IN AI, CU Boulder Leeds OM PhD
  Seminar, Hop! CQCD Retail Summit, Infopresse Sommet Tendances Marketing, Bombardier CEO
  Presentation
  2022: Forbes, McGill Mini Retail Summit, Conference Board of Canada podcast, Delve podcast, Yale OM
  Seminar, Aldo Group Executive Training, World Summit AI Americas, Intelligems podcast, Waze Research
  Seminar, INFORMS RMP Conference, Spark Plug podcast, Quebec SME Video Series, University of
  Tennessee Haslam College of Business, Beijing Jiaotong University
  2021: UBC Sauder, Conflict Analytics Queens Law Seminar, Montreal AI Strategic Forum, Duke Fuqua,
  POMS Doctoral Consortium, IVADO Expert Panel, Creative Destruction Lab’s Think Tank, MSOM
  Conference, Lyft Rideshare Labs Seminar, Start-Up Nation Voices Podcast, HKUST Joint OM/IE Seminar,
  Indian School of Business, MIT Tech Review’s AI podcast - In Machines We Trust, USC Marshall, GERAD
  Seminar, INFORMS Annual Meeting, Sharif University of Technology, MBR Event for POMS College of
  Service Operations, Rutgers Supply Chain Seminar
  2020: Aldo Group Advanced Analytics, Polytechnique Montreal and GERAD, Air Canada RM Seminar,
  HEC Montreal and CIRRELT, IVADO Labs, McGill Alumni Webcast, Lowes Canada, University of Science


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  and Technology Beijing, Conseil Québécois du Commerce de Détail TAG, IVADO Reverse Pitch, Smart-City
  Operations and Analytics Conference, University of Toronto OM Seminar, INFORMS Annual Meeting
  2019: Cornell Tech, Google Product Analytics, POMS Conference, Triennial Invitational Choice Symposium,
  INFORMS Annual Meeting, Microsoft Research Economics Seminar, Conflict Analytics Queens Law
  Seminar, Queen’s University OM Seminar, DTL Quebec Retail Council of Canada, McGill Decision
  Neuroscience Seminar
  2018: NYU OM Seminar, OMEGA Baruch College Seminar, Via Growth and Data Science Meeting, NYU IS
  Seminar, Fashion Retail Conference, Technion IE&M Seminar, Marketplace Innovation Workshop,
  INFORMS RMP Conference, MSOM Service SIG and MSOM Conference, MIT OM Seminar, McGill Retail
  Seminar, UT Austin McCombs, Spotify Research and ML Seminar, INFORMS Annual Meeting
  2017: University of Maryland, NYU OM Seminar, MSOM Conference, ACM SIGMETRICS, INFORMS
  Annual Meeting
  2016: Google Cloud Analytics Seminar, RMP Conference, NYU Stern IOMS Colloquium, POMS Conference,
  Google Algorithms Seminar, ACM Conference on Economics and Computation, INFORMS Annual Meeting
  2015: Cornell Johnson, Cornell ORIE, Duke Fuqua, UNC Chapel Hill, UT Dallas, Chicago Booth, NYU Stern,
  Boston College, Harvard Business School, Michigan Ross, Berkeley Haas, Stanford GSB, Yale SOM,
  Columbia DRO, CMU Tepper, UCLA Anderson, INSEAD, Cornell Tech, Google NYC, McGill, INFORMS
  RMP Conference, NEDSI, MSOM Conference, ISMP, POMS Conference, INFORMS Annual Meeting
  2014: Technion IE&M Seminar, UBC Sauder, Northwestern Kellogg, Cornell Big Data Workshop, MSOM
  Conference, Oracle Retail Seminar, MIT Sloan OM Seminar, INFORMS Annual Meeting
  2013: MSOM Conference, INFORMS Annual Meeting
  2012: ISMP, Optimization Seminar IBM Watson Research Center, MSOM Conference, POMS Conference,
  INFORMS Annual Meeting
  2011: MIT Sloan OM Seminar, IBM Student Workshop on Smarter Cities, MIT Energy Research Conference,
  POMS Conference, INFORMS Annual Meeting

Languages, Computer Skills, and Personal
  Languages: French (native), English (fluent), Hebrew (fluent)
  Programming: R, Python, MATLAB, C/C++, Maple, Gurobi/CPLEX/Julia, Tableau/Power BI
  Extracurricular activities: hiking, travelling, and sports: squash, soccer, tennis




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                               Appendix B: Prior Testimony

   Valmarc Corporation v Nike, Inc. and Converse, Inc., No. 3:21-CV-01556-IM (D. Ore).
    Deposition testimony May 23, 2024, serving as Expert Witness.
   Ongoing Confidential Litigation (Montreal, Canada). Deposition testimony December 4, 2023,
    serving as Expert Witness.




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               EXHIBIT B
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                                   Steven Davidoff Solomon

                                              Dated June 2024


Academic Appointment/Work

            University of California, Berkeley School of Law                                  2014-
            Alexander F. and May T. Morrison Professor of Law
                  Teach Mergers & Acquisitions, Business Associations, and Law, Accounting/Economics and
                   Business Workshop (have also taught Contracts & Securities Regulation)
                        o Teach Antisemitism and the Law (Graduate and Undergraduate)
                        o Co-taught with Erwin Chemerinsky Civil Liberties in a Pandemic
                        o Co-teach with Professor Mark Brilliant From Wall Street to Main Street, an
                            undergraduate U.C. Berkeley class
                  Faculty Co-Director, Berkeley Center for Law & Business (2014-2022)
                        o During my tenure, the Center had ten employees, conducted over 50 programs and
                            conferences a year and operated the executive education program for the law school.
                            In my five-year tenure as co-director I grew revenues from 300K a year to
                            approximately $4 million per year (and from two employees to ten).
                  Co-Founder Berkeley Antisemitism Initiative
                  Selected Honors
                        o Named three times one of the 100 most influential governance professionals in the
                            country by the National Association of Corporate Directors
                        o Eight articles selected as one of the year's top 10 corporate and securities articles in
                            the annual poll of corporate law professors
                        o Top 10 Most-Cited Corporate & Securities Law Professors 2013-2017; 2016-2020
                            (per Sisk report)
                        o Top 10 Most-Cited U.C. Berkeley, School of Law Professors 2013-2017; 2016-2020
                            (per Sisk report)
                  Fellow, American College of Governance Counsel
                  Member American Law Institute, European Corporate Governance Initiative, Academic
                   Freedom Alliance

            Tel Aviv University, Buchmann Faculty of Law                                      Spring, 2022
            Visiting Professor

            Social Capital Suvretta Holdings Corp. IV                                         2021-2023
            Director, Chair of Audit, Compensation and Nominating Committees

            The New York Times                                                                2007-2021
            “Deal Professor” Columnist for N.Y. Times DealBook
                  Weekly print columnist for The New York Times
                  On-line columnist for N.Y. Times DealBook

Other Academic Appointments

            The Ohio State University Michael E. Moritz College of Law                        2011-2014
            Fisher College of Business (By Courtesy)
            Professor of Law

            University of Connecticut School of Law                                           2008-2011
            Professor of Law
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               Wayne State University School of Law                                         2006-2008
               Assistant Professor of Law

Scholarship

       Casebooks

               MERGERS & ACQUISITIONS: LAW, THEORY & PRACTICE (1ST ED. WEST 2016) (2ND ED. WEST 2019) (3RD
               ED. WEST 2023) (with Claire Hill and Brian Quinn)

       Books

               THE CORPORATE CONTRACT IN CHANGING TIMES: IS THE LAW KEEPING UP? (UNIV. CHICAGO 2019)
               (Edited volume) (with Randall Thomas)
               RESEARCH HANDBOOK ON MERGERS AND ACQUISITIONS (Elgar 2016) (Edited volume) (with Claire Hill)

               THE LAW AND ECONOMICS OF MERGERS AND ACQUISITIONS (Elgar 2013) (Edited volume) (with Claire
               Hill)

               GODS AT WAR: SHOTGUN TAKEOVERS, GOVERNMENT BY DEAL, AND THE PRIVATE EQUITY IMPLOSION
               (John Wiley & Sons, Inc. 2009)

       Book Chapters

               Dual Class Stock (with Jill Fisch) in JEFFREY N. GORDON & WOLF-GEORG RINGE (EDS.), THE OXFORD
               HANDBOOK OF CORPORATE LAW AND GOVERNANCE (Oxford Forthcoming 2024)
               National Securities Implications in M&A (with Cathy Hwang) in JEFFREY N. GORDON & WOLF-GEORG
               RINGE (EDS.), THE OXFORD HANDBOOK OF CORPORATE LAW AND GOVERNANCE (Oxford Forthcoming
               2024)
               The Rise and Fall of Delaware’s Takeover Standards (with Randall Thomas) in STEVEN DAVIDOFF
               SOLOMON & RANDALL THOMAS (EDS.), THE CORPORATE CONTRACT IN CHANGING TIMES: IS THE LAW
               KEEPING UP? (Univ. Chicago 2019)
               What Do We Know About Law Firm Quality in M&A Litigation? (with Randall Thomas) in JESSICA
               ERICKSON, ET AL. (EDS.), RESEARCH HANDBOOK ON REPRESENTATIVE SHAREHOLDER LITIGATION
               (Elgar 2018)
               Mergers & Acquisitions: A Cyclical and Legal Phenomenon (with B. Quinn and C. Hill) in CLAIRE
               HILL & STEVEN DAVIDOFF SOLOMON (EDS.), RESEARCH HANDBOOK ON THE ECONOMICS OF
               CORPORATION LAW (Elgar 2016)
               Takeover Theory and the Law and Economics Movement, in CLAIRE HILL & BRETT MCDONNELL
               (EDS.), RESEARCH HANDBOOK ON THE ECONOMICS OF CORPORATION LAW (Elgar Press 2012)
               The Private Equity Contract, in DOUGLAS CUMMING (ED.), THE OXFORD HANDBOOK OF PRIVATE
               EQUITY (Oxford University Press 2012)

               Fairness Opinions in Mergers and Acquisitions, in H. KENT BAKER (ED.), THE ART OF CAPITAL
               RESTRUCTURING (John Wiley & Sons 2011) (with Anil K. Makhija and Rajesh P. Narayanan)
               Fairness Opinions: Thoughts, Perspectives and Legal Doctrine, in WOLFGANG ESSLER & SEBASTIAN
               LOBE (EDS.), FAIRNESS OPINIONS (2008)

       Working Articles

               Control and its Discontents (with Jill Fisch)
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        As California goes, so goes the nation? Gender quotas and the legislation of non-economic values (with
        Felix von Meyerinck, Alexandra Niessen-Ruenzi and Markus Schmid), revise and resubmit Journal of
        Accounting and Economics

  Peer Reviewed Articles

        Universal Demand Laws Did Not Increase Management Entrenchment, CRITICAL FINANCE REVIEW
        (forthcoming 2024) (with Byung Hyun Ahn and Panos Patatoukas),
        Does Voluntary Financial Disclosure Matter? The Case of Fairness Opinions, 68(3) JOURNAL OF LAW
        AND ECONOMICS (2023) (with Adam Badawi and Matt Cain) (Selected as one of the year's top 10
        corporate and securities articles in the annual poll of corporate law professors)
        Representations and Warranties Insurance in Mergers and Acquisitions, REVIEW OF ACCOUNTING
        STUDIES (Sept. 2022) (with Omri Even-Tov & James Ryans)
        Placement Agents and Private Equity: Information Production or Influence Peddling?, 55(4) J. FIN. &
        QUANT. ANAL. 1095 (2020) (with Matt Cain and Stephen McKeon)
        An Empirical Study of Special Litigation Committees, 60 J. CORP. FIN. 101543 (2020) (with CV
        Krishnan and Randall Thomas)
        The Myth of Morrison: Securities Fraud Litigation Against Foreign Issuers, 74 THE BUSINESS LAWYER
        967 (2019) (with Robert Bartlett, Matt Cain, and Jill Fisch)
        What Happened in 1998? The Demise of the Small IPO and the Investing Preferences of Mutual Funds,
        47 J. CORP. FIN. 151 (2017) (with Robert Bartlett and Paul Rose)
        Top Defense Counsel in Mergers & Acquisitions, 45 J. CORP. FIN. 480 (2017) (with CV Krishnan and
        Randall Thomas)
        Do Takeover Laws Matter? Evidence from 50 Years of Hostile Takeovers, 124(3) J. FIN. ECON. 464
        (2017) (with Matt Cain and Stephen McKeon)
        Who are the Top Law Firms? Assessing the Value of Plaintiffs’ Law Firms in Merger Litigation, 18(1)
        AM. LAW AND ECON. REV. 122 (2016) (with Randall Thomas and CNV Krishnan)
        Delaware’s Competitive Reach, 9(1) JOURNAL EMP. LEG. STUD. 92 (2012) (with Matt Cain) (Selected
        as one of the year's top 10 corporate and securities articles in the annual poll of corporate law
        professors)
  Law Review Articles
        Do Social Movements Spur Corporate Change? The Rise of “MeToo Termination Rights” in CEO
        Contracts, 98 INDIANA L. J 125 (2022) (with Rachel S. Arnow-Richman and James Hicks)
        The Future or Fancy? An Empirical Study of Public Benefit Corporations, 11 HARV. BUS L. REV. 114
        (2021) (with Michael B. Dorff and James Hicks)
        Does Revlon Matter: An Empirical and Theoretical Analysis, 108 CALIFORNIA L. REV. 1683 (2020)
        (with Matt D. Cain, Sean Griffith and Robert Jackson, Jr.) (winner of the John L. Weinberg/IRRCI
        Research Award Competition) (Selected as one of the year's top 10 corporate and securities articles in
        the annual poll of corporate law professors)
        The New Titans of Wall Street: A Theoretical Framework for Passive Investors, 168 U. PENN. L. REV.
        17 (2019) (with Jill Fisch & Assaf Hamdani) (Selected as one of the year's top 10 corporate and
        securities articles in the annual poll of corporate law professors)
        Is Say on Pay All About Pay? The Impact of Firm Performance, 8 HARV. BUS. L. REV. 101 (2018) (with
        Jill Fisch and Darius Palia)
        Settling the Staggered Board Debate, 166 U. PENN. L. REV. 1475 (2018) (with Yakov Amihud &
        Markus Schmid) reprinted in 30 J. APP. CORP. FIN. 61 (2018) (Selected as one of the year's top 10
        corporate and securities articles in the annual poll of corporate law professors)
        Transactional Administration, 106 GEORGETOWN L. REV. 1097 (2018) (with David Zaring)
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        The Shifting Tides of Merger Litigation, 71 VAND. L. REV. 603 (2018) (with Matt Cain, Jill Fisch and
        Randall Thomas)
        How Corporate Governance is Made: The Case of the Golden Leash, 164 U. PENN. L. REV. 649 (2016)
        (with Matt Cain, Jill Fisch and Sean Griffith) (Selected as one of the year's top 10 corporate and
        securities articles in the annual poll of corporate law professors)
        The Disappearing IPO and the Lifecycle of Small Firms, 6 HARV. BUS. L. REV. 83 (2016) (with Paul
        Rose)
        Confronting the Peppercorn Settlement in Merger Litigation: An Empirical Analysis and a Proposal for
        Reform, 93 TEX. L. REV.557 (2015) (with Sean Griffith and Jill Fisch) (selected for reprint in 57 Corp.
        Practice Comm. 493 (2015)) (Selected as one of the year's top 10 corporate and securities articles in the
        annual poll of corporate law professors)
        A Great Game: The Dynamics of State Competition and Litigation, 100 IOWA L. REV. 165 (2015) (with
        Matt Cain) (Selected as one of the year's top 10 corporate and securities articles in the annual poll of
        corporate law professors)
        After the Deal: Fannie, Freddie and the Financial Crisis, 95 BOSTON U. L. REV. 371 (2015) (with
        David Zaring)
        Broken Promises: Private Equity Bid Failures and the Limits of Contract, 40 J. CORP. LAW 565 (2015)
        (with Matt Cain and Antonio Macias) (selected as best paper from over 80 submissions at the George
        Washington C-LEAF Business and Financial Law Junior Faculty Workshop; selected to be presented at
        American Finance Association 2012 meeting)
        Do Outside Directors Face Labor Market Consequences? A Natural Experiment from the Financial
        Crisis, 4 HARV. BUS. L. REV. 53 (2014) (with Andrew Lund and Robert Schonlau)
        Computerization and the ABACUS: Reputation, Trust, and Fiduciary Duties in Investment Banking,
        37(3) J. CORP. LAW 101 (2012) (with Alan D. Morrison and William J. Wilhelm)

        Form Over Substance? Management Buy-Outs and the Value of Corporate Process, 36 DEL. J. CORP. L.
        849 (2011) (with Matt Cain) (Symposium organized around article) (selected for reprint in 54 Corp.
        Practice Comm. 793 (2012-13))

        Regulation by Deal: The Government’s Response to the Financial Crisis, 61 ADMIN. L. REV. 463
        (2009) (with David Zaring)

        The Failure of Private Equity, 82 S. CAL. L. REV. 481 (2009)

        Regulating Listings in a Global Market, 86 N.C. L. REV. 101 (2007) (selected for reprint in 50 Corp.
        Practice Comm. 959 (2009))

        Black Market Capital, 2008 COLUM. BUS. L. REV. 172

        The SEC and the Failure of Federal Takeover Regulation, 34 FLA. ST. U. L. REV. 211 (2007)

        Fairness Opinions, 55 AM. U.L.REV. 1557 (2006) (cited in HA Liquidating Trust v. Credit Suisse
        Securities LLC, -- F.3d. -- (7th Cir. 2008) (Easterbrook, J.))

        Getting U.S. Security Holders to the Party: The SEC’s Cross-Border Release Five
        Years On, 12 U. PENN J. INT'L ECON. L. 455 (2005) (with Brett Carron)

  Symposium Articles (Includes Full Length Law Review Articles Placed as Symposium Pieces)

        Extending Dual Class Stock: A Proposal (forthcoming THEORETICAL INQUIRIES IN LAW) (with David J.
        Berger and Jill Fisch)
        Synthetic Governance, 2021 COLUM. BUS. L. REV. (with Jill Fisch, Panos N. Patatoukas and Byung
        Hyun Ahn)
        Should Corporations Have a Purpose?, 99 TEX. L. REV 1311 (2021) (with Jill Fisch)
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              Centros, California’s “Women on Boards” Statute and the Scope of the Internal Affairs Doctrine, 20
              EUR. BUS. ORG. L. REV. 493 (2020) (with Jill Fisch)
              Mootness Fees, 72 VAND. L. REV. 1777 (2019) (with Matt Cain Jill Fisch, Randall Thomas)
              The Problem of Sunsets, 99 B.U. LAW REV. 1057 (2019) (with Jill Fisch)

              Lock-up Creep, 38 J. CORP. L. 681 (2013) (with Christina Sautter)

              Limits of Disclosure, 36 SEATTLE U. L. REV. 599 (2013) (with Claire Hill)

              Airgas and the Value of Strategic Decision-Making, 2012 COLUM. BUS. L. REV. 502

              Uncomfortable Embrace: Federal Corporate Ownership Amidst the Financial Crisis, 95 MINN. L. REV.
              1733 (2011)

              Rhetoric and Reality: A Historical Perspective on the SEC’s Regulation of Foreign Private Issuers, 79
              CINC. L. REV. 619 (2010)

              Paradigm Shift: Securities Regulation in the New Millennium, 2 BROOK. J. CORP. FIN. & COM. L. 340
              (2008) (included as a paper presented at the AALS annual meeting of the securities regulation section
              and selected for inclusion in the Securities Law Review 2009 as one of the top papers in the field of
              securities regulation in 2008)

Selected Other Writings

              On Peter Henning, 68 WAYNE L. REV. 339 (2023)
              Is The Staggered Board Debate Really Settled?: A Coda, 168 U. PA. L. REV. ONLINE 113 (2020),
              http://www.pennlawreview.com/online/168-UPa-L-Rev-Online-113.pdf (with Yakov Amihud, Markus
              Schmid)

              What CEOs Get Wrong About Activist Investors, HARVARD BUSINESS REVIEW (May 2018) (with Frank
              Partnoy)

              Frank & Steve’s Excellent Corporate Raiding Adventure, THE ATLANTIC MONTHLY (May 2017) (with
              Frank Partnoy)

              Tenure Voting and the U.S. Public Company, 72(2) THE BUSINESS LAWYER 295 (2017) (with David
              Berger & Aaron Benjamin)

              Yearly Takeover Litigation Reports (2011-2015), available at
              http://papers.ssrn.com/sol3/cf_dev/AbsByAuth.cfm?per_id=576465#reg

              Section 632: An Expanded Basis of Federal Jurisdiction for National Banks, 123 BANKING L.J. 687
              (2006)

               A Comparative Study of the Jewish and the United States Constitutional Law of Capital
               Punishment, 3 ILSA J. INT'L & COMP. L. 93 (Fall 1996)


Education

              London Business School
              Masters in Finance, Sept 2005

              Columbia University School of Law
              Juris Doctor, May 1995, Harlan Fiske Stone Scholar
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             University of Pennsylvania
             Bachelor of Arts, History, Cum Laude with Distinction, May 1992
             Honors Thesis: Raphael Lemkin and the Conceptual Evolution of Genocide

Other Work
Experience

             Freshfields Bruckhaus Deringer                                                 2002-2004
             Senior Associate, U.S. Corporate Group (London)

             Shearman & Sterling
             Senior Associate, Mergers and Acquisitions Department (New York/London)                1995-2002

Entrepreneurial Endeavors

               Yowlo, PBC                                                                   2021-

               Co-founded financial analytics firm with U.C. Berkeley Haas Professor providing high-end
               financial tools to retail investors. Yowlo, PBC is cash flow positive and has contracted with
               Microsoft to license certain of its powerful analytics.

               Wasabi Sushi Co.                                                             1996-

               Founding partner of Wasabi Sushi Co, a fast-casual restaurant chain. Wasabi Sushi has
               raised over $3 million dollars in capital and is currently cash flow positive. It’s flagship
               restaurant remains at Tysons’s Corner Mall in Virginia.

Testimony, Presentations, Conferences and Panels

       Testimony

             Filling Gaps and Black Holes: Restructuring the Financial Regulatory Apparatus for the Next Crisis,
             Testimony before the U.S. Senate Committee on Homeland Security and Governmental Affairs, Where
             Were the Watchdogs? The Financial Crisis and the Breakdown of Financial Governance (January 2009)
       Presentations

             Control and its Discontents, Chaim Herzog conference, Hebrew University Jerusalem, School of Law
             (Jun. 2024)
             Twitter: A Case Study in Contractual Certainty, Tel Aviv Law School Law and Economics Workshop
             (Feb. 2024); USC Law and Economics Workshop (Jan. 2024).
             ESG and Corporate Purpose: The Real Deal or Fraud?, Bairadi Corporate Lecture, Wayne State Law
             School (Sept. 2022)
             Identifying Corporate Governance Effects: The Case of Universal Demand Laws, ECGI & Bar Ilan
             University (June 2022)
             Does Voluntary Financial Disclosure Matter? The Case of Fairness Opinions in M&A, Notre Dame
             Law and Economics Colloquium (Oct 2022); American Law and Economics Associations Annual
             Meeting (Oct 2021)
             Should Corporations Have a Purpose?, Duke Law School Faculty Workshop (Nov. 2020); Harvard
             Law and Economics Workshop (Oct. 2020); Stanford Law and Economics Workshop (Oct. 2020);
             Duke Law and Economics Workshop (Apr. 2020)
             Does Revlon Matter, Corporate Law Academic Workshop (Jun. 2020); Harvard Law School Law and
             Economics Workshop (Nov. 2019); London School of Economics (Oct. 2019); University of California,
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      Los Angeles (Sept. 2019); National Business Law Scholars Conference (Jun. 2019); BYU Winter Deals
      Conference (Feb. 2019)
      As California goes, so goes the nation? Gender quotas and the legislation of non-economic values,
      American Law and Economics Associations Annual Meeting (May 2019)
      The Problem of Sunsets, U. Penn. Law and Economics Roundtable (May 2019), Boston University
      School of Law (Nov. 2018)
      Mootness Fees, Institute for Law and Economic Policy, San Juan, Puerto Rico (Apr. 2019)
      The Myth of Morrison, University of Texas, Austin School of Law (Oct. 2018)
      The New Titans of Wall Street, Vanderbilt Law School (Jan. 2018); Boston University School of Law
      (Nov. 2018); Northwestern Law School (Oct. 2018); University of Wisconsin Law School (Oct. 2018);
      U. Penn. Law and Economics Roundtable (May 2018); NYU Law and Economics Roundtable (Apr.
      2018)
      Settling the Staggered Board Debate, Penn/NYU Conference on Law and Finance (Apr. 2018)
      An Empirical Study of Special Litigation Committees, American Law and Economics Associations
      Annual Meeting (May 2018); University of California Los Angeles (Oct. 2017).
      Does the Staggered Board Affect Firm Value?, Hebrew University, Jerusalem School of Law (May
      2017); 2017 GSU CEAR-Finance Conference (May 2017)
      Top Defense Counsel in Mergers & Acquisitions, American Law and Economics Association Annual
      Meeting (May 2017), Chicago Kent School of Law (2016)
      How Corporate Governance is Made: The Case of the Golden Leash, University of Pennsylvania
      School of Law, Law and Economics Roundtable (Dec. 2015); Willamette Law School (Sept. 2015);
      Southwestern Law School (Oct. 2015); American Law and Economics Association Annual Meeting
      (May 2015); Tel Aviv University School of Law, Law and Economics Workshop (Mar. 2015)
      After the Deal: Fannie, Freddie and the Financial Crisis, University of San Diego School of Law (Nov.
      2014)
      Fairness Opinions as Magic Pieces of Paper, American Society of Appraisers-CICBV Business
      Valuation Conference (Oct. 2014)
      Do Takeover Laws Matter? Evidence from 45 Years of Hostile Takeovers, University of Southern
      California (Sept. 2016); University of California Los Angeles (Oct. 2015); American Law and
      Economics Association Annual Meeting (May 2014)
      Placement Agents and Private Equity: Information Production or Influence Peddling?, American Law
      and Economics Association Annual Meeting (May 2014)
      The Disappearing IPO and the Lifecycle of Small Firms, U.C. Irvine, School of Law (Jan. 2015);
      Conference of Empirical Legal Studies (Nov. 2014); Fordham University Law School (Nov. 2013)
      Deficits of Disclosure, USC Law and Economics Workshop (Nov. 2012)
      A Great Game: The Dynamics of State Competition and Litigation, University of Pennsylvania, Institute
      for Law & Economics Roundtable (Apr. 2013); University of California, Berkeley School of Law
      (2013); Minnesota Law School (Jan. 2012); American Law and Economics Association Annual
      Meeting (May 2012); University of Virginia School of Law (Dec. 2011); Vanderbilt Law School (Nov.
      2011)

      Broken Promises: Private Equity Bid Failures and the Limits of Contract, Minnesota Law School
      (Mar. 2012); George Washington C-LEAF Business and Financial Law Junior Faculty Workshop (Feb.
      2012); Suffolk Law School (Sept 2011); Midwest Corporate Legal Scholars Conference (Jun. 2011);
      Denver Law School (Jan. 2011); Argentum Conference, Stockholm, Sweden (Oct. 2010); Fordham Law
      School (Apr. 2010)

      Form Over Substance? Management Buy-Outs and the Value of Corporate Process, Widener Law
      School (Apr. 2011); Conf. Emp. Legal Studies (Nov. 2010); SEALS (Aug. 2010); Midwest Corporate
      Law Colloquium (Jun. 2010); Delaware Bar Association CLE (May 2010)
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       Delaware’s Competitive Reach: An Empirical Analysis of Public Company Merger Agreements,
       University of Pennsylvania Law School (Feb. 2012); Stanford Law School (Oct. 2009)

       Regulation by Deal: The Government’s Response to the Financial Crisis, University of Pennsylvania,
       Institute for Law & Economics Roundtable (May 2009)

       Private Equity: Past, Present and Future, Keynote Presentation, Private Equity M&A Section, ABA
       Business Section Annual Meeting in Vancouver (Apr. 2009)

       The Failure of Private Equity, Illinois Corporate Law Colloquium, University of Illinois School of Law
       (Nov. 2008); Widener University School of Law, 2008 Widener Scholar in Residence in Corporate Law
       (Oct. 2008); The James E. Rogers College of Law at The University of Arizona (Fall 2008)

       Paradigm Shift: Securities Regulation in the New Millennium, AALS Annual Meeting, Securities
       Regulation Section (Jan. 2008)

       Regulating Listings in a Global Market, University of Connecticut Law School Faculty Workshop
       (Dec. 2007)

       Black Market Capital, Brooklyn Law School Faculty Workshop (Sept. 2007)

  Academic Conferences and Symposiums

       Extending Dual Class Shares, Controlling Shareholders and Control-Enhancing Mechanisms, Tel Aviv
       Law School (Jan. 2023)
       Commentator, Conference on Empirical Legal Studies, Claremont-McKenna (Nov. 2019)
       Commentator, Centros and European Company Law: Twenty Years of Living Dangerously, 3rd Annual
       Oxford Business Law Blog Conference, Oxford University (Mar. 2019)
       Commentator, NYU / Penn Conference on Law & Finance (Feb. 2019)
       Presenter, Institutional Investor Activism in the Trump Era: Responses to a Changing Landscape,
       Boston University School of Law (Nov. 2018)
       Co-Founder and Organizing Committee, National Business Law Scholars Conference (2008-2018)
       Organizer, Corporate Law Symposium at U.C. Berkeley (2016 & 2018)
       IP & Dealmaking, Art & Science of the IP Deal, University of Washington School of Law (Apr. 2017)
       (Keynote Speech)
       The Rise and Fall of Delaware’s Takeover Standards, Can Delaware Be Dethroned? Evaluating
       Delaware’s Dominance of Corporate Law, UCLA Law School (Feb. 2017)
       The Dealmaking State: Executive Power in the Trump Administration, Financial Regulation
       Roundtable, George Mason Law School (Aug & Dec. 2016)
       Presenter, Fairness Opinions as Magic Pieces of Paper, ASA-CICBV Business Valuation Conference
       (Nov. 2014)
       Panel Participant, Texas Tech Conference on Multi-Jurisdiction Deal Litigation (Apr. 2014)
       Panel Participant, University of Virginia Law & Business Law Review Symposium on Corporate
       Governance (Feb. 2014)
       Presenter, University of San Diego-Oxford Media and Markets Conference, Proliferation of
       Stakeholders and Audiences (Jan. 2014)
       Does Plaintiffs’ Law Firm Market Share reflect Performance?, Corporate and Securities Litigation
       Workshop (Nov. 2013)
       Confronting the Peppercorn Settlement in Merger Litigation: An Empirical Analysis and a Proposal for
       Reform, Corporate and Securities Litigation Workshop (Nov. 2013)
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              Do Outside Directors Face Labor Market Consequences? A Natural Experiment from the Financial
              Crisis, American Law and Economics Association Annual Meeting (May 2013)
              Lock-up Creep, Ten Years After Omnicare: The Evolving Market for Deal Protection Devices,
              University of Iowa College of Law (Feb. 2013)

              Deficits of Disclosure, Berle IV, The Future of Financial/Securities Markets, Seattle University School
              of Law (Jun. 2012)

              Presenter, Airgas and the Value of Strategic Decision-Making, The Delaware Court of Chancery:
              Change and Continuity, Columbia University School of Law (Nov. 2011)

              Symposium Organizer, Irreconcilable Differences: Director, Manager and Shareholder Conflicts in
              Takeovers, Widener Law School (Apr. 2011).

              Presenter, The Social Dimension of Regulatory Capture, Fordham Journal of Corporate & Financial
              Law Symposium, Regulatory Capture (Feb. 2010)

              Presenter, Form Over Substance? Management Buy-Outs and the Value of Corporate Process, Yale
              University School of Law, Conference of Empirical Legal Studies (Nov. 2010)
              Presenter, Uncomfortable Embrace: Federal Corporate Ownership Amidst the Financial Crisis,
              University of Minnesota Law School, Government Ethics & Bailouts: The Past, Present, & Future (Oct.
              2010)
              Presenter, Rhetoric and Reality: A Historical Perspective on the SEC’s Regulation of Foreign Private
              Issuers, University of Cincinnati Law School, Globalization of Securities Regulation Symposium (Feb.
              2010)

              Commentator, Conference on Executive Compensation, Vanderbilt Law School (Feb. 2010)

              Presenter, Fear, Fraud and the Future of Financial Regulation, New York Law School (Apr.2009)

              Presenter, Private Equity: Past, Present and Future, The Rise (and Fall?) of the New Shareholder:
              Sovereign Wealth Funds, Hedge Funds, and Private Equity, Villanova University School of Law (Mar.
              2009)

              Moderator, The Subprime Crisis: Going Forward, Commentator, Containing Global Contagion and
              Systemic Risk, University of Connecticut School of Law (November 2008)

              Panelist, The State of the Global Mergers & Acquisitions (M&A) Marketplace, The History and Future
              of U.S. and Global Takeover Regulation: The Williams Act 40 Years On, Georgetown Law School
              (May 2008)

              Discussant, Securities Regulation, Corporate Governance, and Corporate Finance: Global Markets,
              Law, and Culture, International Conference on Law and Society in the 21st Century: Joint Annual
              Meetings of LSA and the Research Committee on Sociology of Law (July 25, 2007)

              Moderator and Organizer, How Much is Enough? U.S. Securities Regulation in the Face of Global
              Capital Markets, ABILA International Law Weekend 2006 (Oct 27, 2006)

              Presenter, Oh, The Places You’ll Go! European Takeover Law, ABILA International Law Weekend
              2006 (Oct 27, 2006)

Panels, Roundtables and Practitioner Conferences

              Panelist, AI and the Future of Corporate Governance, NYU & Wilson Sonsini (Mar. 2024)

              Panelist, Tulane M&A Conference (2020-2024)
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              Organizer, Annual Symposium on Corporate Governance (2016-2021)

              Organizer, Annual M&A and Antitrust Litigation Conference (2015-2022)

              Organizer, Yearly M&A Roundtable with Kirkland & Ellis (2012-2018)

               Panelist, M&A Law, Hebrew University, Jerusalem (April 2017)
               Commenter, The Eclipse of the Shareholder Paradigm, U. Penn Law and Economics Corporate
               Roundtable (Apr. 2015)
               Panelist, Innovation in State Securities Regulation, NASAA Public Policy Conference (Apr. 2015)
               Panelist, Honoring Chief Justices Strine & Steele at NYU School of Law (May 2014)
               Panelist, NACD Leading Minds of Governance (Dec. 2013)
               Moderator, Hedge Fund Activism Panel, Second Annual DealBook Conference, (Nov. 2013)
               Panelist, Securities Litigation Update, 2013 Ohio Securities Conference (Oct. 2013)
               Panelist, Business Litigation and the Supreme Court, Institute for Law and Economic Policy, (Apr.
               2013)
               Panelist, The JOBS Act, and the Future of Small Business Finance and the U.S. Equity Markets, AALS
               (Jan. 2013)
               Panelist, Securities Litigation Update, 2012 Ohio Securities Conference (Oct. 2012)
               Panelist, The JOBS Act, Council of Institutional Investors Fall Conference, (Oct. 2012)
               Panelist, Good, Bad or Stupid? Debating the STOCK and JOBS Act at the National Business Law
               Scholars Conference, National Business Law Scholars Conference, (Jun. 2012)
               Panelist, Selling the Deal, Tulane 24th Corporate Law Institute (Mar. 2012)
               Panelist, The New Internationalism: Regulatory Practices and Global Private Equity Opportunities,
               Columbia Business School Private Equity & Venture Capital Conference (Jan. 2010)
               Panelist, Revisiting the Conventional Wisdom of Poison Pills and other Anti-Takeover Defenses, Forum
               for Institutional Investors (Oct. 2009)
               Participant, Proxy Access Roundtable, Harvard Law School, Harvard Law School Program on
               Corporate Governance (Oct. 2009)

               Participant, The Research Roundtable on Corporate Governance, Searle Center on Law, Regulation,
               and Economic Growth at Northwestern University School of Law (April 2009).

               Panelist, Delaware Law Developments and Issues, 27th Annual Federal Securities Institute (Feb. 2009)
               (with Justice Jack B. Jacobs and Vice Chancellor Donald F. Parsons)

               Panelist, Broken Deals: Who's to Blame?, Mergers, Acquisitions and Split-offs class, taught by Prof.
               Robert C. Clark and Vice Chancellor Leo E. Strine, Jr., Harvard Law School (November 2008)


Significant University Service

               Merit review advisory committee; strategic committee (chair); hiring committee; other committee
               service available upon request
               Chair, U.C. Berkeley Chancellor’s Committee on Jewish Life
               Referee: Journal of Law, Economics & Organizations, Journal of Empirical Legal Studies, Review of
               Financial Studies. Confidential reviews also provided to California, Harvard, Stanford and Yale law
               reviews.
               Area Coordinator (Corporate Governance): American Law and Economics Annual Meeting (2017,
               2019).

PhD/JSD Committees
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               Silvia R. Fregoni, J.S.D. (Member)
               Kimberlyn K. George, Accounting Haas (Member)
               Young S. Yoon, Accounting Haas (Member)
               Stephen Walker, Accounting Haas (Member)
               Ogi Radic, Sociology (Member)
               Huanting Wu, J.S.D. (Chair)
               Amit Elazari, J.S.D. (Chair)
               Tristan Fitzgerald, Finance Haas (Member)
               Margaret Fong, Accounting Haas (Member)
               Lukasz Langer, Accounting Haas (Member)
               Alvaro Pereira, J.S.D. (Chair)
               Samuel Tan, Accounting Haas (Member), Assistant Professor, Singapore Management University
               Cait Unkovic, J.S.P. Program (Chair)

Selected Outside Service

               Member of Review Committee, The University of Auckland,
               the Department of Commercial Law (2020)
               Chair, Board of Directors, Israel Institute
               Member, Advisory Board, Academic Engagement Network

Bar Admissions
                 New York State
                 U.S. District Court: Southern District of New York
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Cases where expert deposition taken, testimony given or expert report filed (in last five years):

    1. United States of America v. Pourhassan, et al., Crim. No. 22-cr-440 (D. Md.)
    2. LoyaltyOne, Co., et al. v. Bread Financial Holdings, Inc. (Ontario Sup. Ct. J.)
    3. Tang Capital Partners, LP v. BRC Inc., Case No. 1:22-cv-03476 (S.D.N.Y)
    4. Misty Snow v. Align Technology, Inc., No. 21-cv-03269-VC (N.D. Cal.)
    5. Nortek, Inc. v. ITT, LLC, Civ. No. 7:21-cv-3999 (S.D.N.Y)
    6. Funicular Funds LP., v. Pioneer Merger Corp., et al., Civ. No. l:22-cv-10986 (S.D.N.Y.)
    7. Murchinson Ltd., et al v. Nano Dimension Ltd., Civil Case 70343-08-23 (Lod Dist. Ct.)
    8. Nayani v. LifeStance Health Group, Inc., et al., 1:22-cv-6833-JSR (S.D.N.Y.)
    9. Murchinson Ltd., et al v. Nano Dimension Ltd., Civil Case 57198-03-23 (Lod Dist. Ct. Israel)
    10. Nano Dimension Ltd. v. Murchinson, Ltd., et al., Civ. No. 1:23-cv-02566-JLR (S.D.N.Y)
    11. HControl Holdings LLC, et al. v. Antin Infrastructure Partners S.A.S. and OTI Parent LLC, CA No. 2023-
        0283 (Del. Ch.)
    12. Chodniewicz et al. v. Art.com, Inc. et al., Case No. RG19001604 (Superior Court of Ca, Alameda County)
    13. Halevi v. Teva Pharmaceutical Industries Ltd. et al., Derivative Action 57051-10-20, and related actions (Tel-
        Aviv District Court)
    14. Tornetta v. Maffei, et al., CA No. 2019-0649 (Del. Ch.)
    15. CEL Dynamic Growth Fund v. Happy Starlight Limited and Zhang Bing, HKIAC/A21081 (Hong Kong
        arbitration)
    16. Karri v. Oclaro, Inc., et al., Case No. 3:18-cv-03435 (N.C. Cal.)
    17. Roberts v. Zuora, Inc. et al., Case No. 3:19-cv-03422 (N.D. Cal.)
    18. Advantest America, Inc., and Advantest Test Solutions, Inc. v. Samer Kabbani, Lattice Innovation, Inc., AEM
        Holdings LTD, and Wavem US Inc.,” Case No. 1200057839 (JAMS arbitration)
    19. The Successor Agency to the Former Emeryville Redevelopment Agency and the City of Emeryville v.
        Swagelok Company, et al. (Case No. 3:17-cv-00308-WHO, N.D. Cal.)
    20. Dyal Capital Partners, L.P. et al. v. JANA Partners, LLC, Index No. 650630/2020 (Supreme Court of the State
        of New York, County of New York)
    21. Xerox Corporation v. Travelers Casualty and Surety Company of America, Index No. 653549/2019) (Supreme
        Court of the State of New York, County of New York)
    22. Petersen Energía Inversora, S.A.U. and Petersen Energía, S.A.U. v. Argentine Republic and YPF S.A., 1:15-
        cv-02739-LAP and Eton Park Capital Management L.P., Eton Park Master Fund, Ltd., Eton Park Fund, L.P. v.
        Argentine Republic, and YPF S.A. 1:16-cv-08569-LAP (S.D.N.Y.)
    23. Securities and Exchange Commission v. Anatoly Hurgin, et al., Case No. 1:19-cv-05705 (S.D.N.Y.)
    24. Cypress Partners, LLC v. Philip R. Shawe, et al.. No. 654101/2018 (N.Y. Sup. Ct.)
    25. In re Teva Securities Litigation, 3:17-cv-00558-SRU (D. Conn.)
    26. Casey M. Frank v. John v. Arabia, et al., Case No. 24-C-19-5518 (Baltimore City, MD)
    27. The Boeing Company, et al. v. Embraer S.A., Yaborã Indústria Aeronáutica S.A., et al. (arbitration)
    28. Ulisses Cardinot v. Arco Platform Limited, et al. (arbitration)
    29. Caruso v. Modany, Case No. 1:18-cv-02182-JPH-TAB (D. Indiana)
    30. In re WeWork Litigation, C.A. 2020-0258-JTL (Del. Ch.)
    31. Hope Solo v. United States Soccer Federation, Inc. (United States Olympic and Paralympic Committee
        arbitration)
    32. HC2 Holdings Inc. v. Paul, Weiss, Rifkind, Wharton & Garrison LLP, JAMS Ref No. 1425032485
        (arbitration)
    33. In re Novo Nordisk Securities Litigation, No. 3:17-cv-00209 (D.N.J.)
    34. Hussein v. Razin, et al. (Sup. Ct. Cal. Orange Cty. No. 30-2013-00679600-CU-NP-CJC)
    35. PersonalizationMall.com, LLC v. Tolaney (DuPage Cty. Ill, No. 2015 MR 1726/2017 MR 381)
    36. AB Stable VIII LLC v. MAPS Hotels and Resorts One LLC, et al. (Del. Ch., C.A. 2020-0310-JTL)
    37. Joy Global Inc. v. Columbia Casualty Company, et al., Case No. 18-cv-2034 (E.D. Wis.)
    38. Starz Acquisition, LLC, et al. v. Allied World Assurance Company. (U.S.) Inc., et al., Case No.
        18STCV04283 (Sup. Ct. Cal., Los Angeles)
    39. McLaren Holdings Limited v (1) US Bank Trustees Limited and (2) Mr Simon Gaul (In the High Court of
        Justice Business and Property Courts of England and Wales Financial List)
    40. Alex Spizz, as Chapter 7 Trustee for Ampal-American Israel Corp. v. Irit Eluz, Case No. 14-02110 (S.D.N.Y.)
    41. Cypress Partners Investments, LLC v. Philip R. Shawe, et al. (arbitration proceeding)
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                                       Scott F. Meadow
                                       Curriculum Vitae

Education

M.B.A., Strategy and Finance, Harvard Business School
A.B., magna cum laude, British History and Literature, Harvard College

Academic Experience

The University of Chicago Booth School of Business

1999–Present Clinical Professor of Entrepreneurship
   • Taught 250 classes over 25 years, four courses; educating roughly 10,000 studentsacross
      the Full-time, Part-time, Weekend, and Executive IMBA programs, average course
      ratings 4.6/5.0, average number of hours/week 10.1. Taught 60 Executive Education
      programs centered on entrepreneurship in Chicago, London, Paris, Brussels, Warsaw,
      Mumbai, Delhi, Bangalore, Singapore, Sao Paulo, Rio de Janeiro, Porto Alegre, Dubai,
      Buenos Aires, Mexico City, Beijing, Shanghai and Hong Kong
   • Created and instructed Commercializing Innovation, a course focused on performing the
      pre and post investment due diligence associated with analyzing emerging and highly
      levered enterprises, including developing the economics and strategic direction ofprivate
      equity and venture capital projects
   • Instructed Entrepreneurial Finance and Private Equity, a course with the chief objective
      of providing an understanding of valuation, security design, financial structure, debtand
      equity, term sheet tradeoffs, negotiation, and financing strategies for Private Equity and
      Venture Capital Projects. Includes organic and inorganic growth policies and how these
      decisions affect the Entrepreneur, General Partner and Limited Partner
   • Instructed Introduction to Venture Capital, a course designed to teach Entrepreneurial
      Economics and Venture Capital Finance to non-Booth graduate students at The
      University of Chicago.
   • Instructed The New Venture Challenge, an experiential class centered on developing
      projects from the perspective of the entrepreneur. I remain a judge for the competition
   • Founding faculty sponsor for the Chicago Private Equity Network (CPEN)
   • Founding faculty director of the Venture Capital Investment Competition (VCIC),
      overseeing teams winning International Contest First Place (2010) and International
      Contest Second Place (2011)




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2008–2012      Faculty Director of Global Initiatives
   • Led initiatives to increase university scholarships, cultivate relationships, and develop
      international Academic Centers that employ content from across the University of
      Chicago
   • Designed a “Hub and Spoke” system for non-degree granting Academic Center
      deployment, consisting of “30,000 Sqr. Ft. Hubs” for centers in Beijing, and
      Mumbai/Delhi, and Sao Paulo
   • Developed an alumni committee structure to aid in the development of all “Country”
      initiatives
   • Reported to the Dean of Chicago Booth and interfaced with regional university faculty
      committees (India and China) on academic center format and content

2009–January 2023 Academic Director, Institutional Limited Partner Association (ILPA)

2010–Present University of Chicago Polsky Innovation Fund Advisory Committee / Three-
Person Steering Committee
   • Supervisory body that oversees the allocation of funds and provides management
       assistance to individual projects originating at The University of Chicago
   • Designed and assembled the Innovation Fund Associate Program, a select cadre of non-
       Booth Graduate Students from throughout The University of Chicago, including TheLaw
       School, Biological Sciences, Harris School of Public Policy and College tasked with
       evaluating projects brought to The Innovation Fund for funding consideration

Honors and Awards

   •   2011 recipient of the Richard J. Daley Award. The Daley Medal acknowledges a single
       individual who has given direct and extraordinary support to the state of Illinois by
       participating in or being an advocate for the venture capital and private equity industry
   •   2010 Faculty Excellence Award: honors those faculty members who have demonstrated
       an exceptional commitment to teaching
   •   Recipient of the Class of 2002, 2003, 2004, and 2005 Phoenix Award (selected by
       students for displaying exceptional commitment to students out of the classroom)
   •   Voted one of the top entrepreneurial professors in the world by Hot Topics
   •   Designated as one of the outstanding entrepreneurial professors in the UnitedStates,
       Business Week, “Guide to the Best Business Schools,” 2003, 2005
   •   Recognized by Venture One (1998) as one of the outstanding healthcareinvestors
   •   Recipient of the 1996 Young Leadership Award, awarded by the Jewish Federation
       of Chicago




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Private Equity Experience

Approved hundreds of equity financings. Active in fundraising. Originated or created more than
sixty investments, including two dozen healthcare services companies, over a dozen consumer
services and retail companies, as well as companies enhanced by the Internet

2005–January 2024 Associate Partner, The Edgewater Funds, Chicago, IL
   • Founded in 1991, The Edgewater Funds is a private equity partnership with Lazard
      Frères, specializes in middle market growth capital investments, and has over $1.0 billion
      in capital under management. The firm maintains offices in Chicago, IL
   • Attribution/Lead Investor/Board of Directors: Barrier Safe Solutions

1995–2003    General Partner, Sprout Group, Chicago, IL
   • Founded in 1969, Sprout Group is the venture affiliate of Donaldson, Lufkin, & Jenrette
      (DLJ), and raised nearly $3.0 billion in committed capital from leading institutional
      investors. The firm maintained offices in New York, NY, Menlo Park, CA and Chicago,
      IL
   • Attribution/Lead Investor/Board of Directors: Epotec, Healthcare Innovations Inc.,
      Heritage Health Systems, Intercardia, Life Mark Health Management, NeuroSource Inc.,
      Pathology Partners Inc., Sunrise International, and Aspen Education Group

1992–1995    General Partner, Frontenac Company, Chicago, IL
   • Founded in 1971, Frontenac is a Chicago-based private equity firm that raises capital
      from investors with long investment horizons. Since its inception, the firm has managed
      over 200+ family business transitions
   • Attribution /Lead Investor/Board of Directors: Champion Healthcare Corp, Coventry
      Corp, Elder Health, MedPartners Inc., Sunrise Assisted Living, Surgical Health Corp,
      Chernins Shoes Inc., CompUSA, Kidsource, PetStuff Inc./PetsSmart Inc., Ulta3 Inc.,
      Zany Brainy Inc., Grimes Kill, Regent Lighting, and We Do Inc.

1983–1992      General Partner, William Blair & Company, Chicago,IL

1983–1992      Partner, William Blair & Company, Chicago, IL

1982           Associate, William Blair & Company, Chicago, IL
   •   William Blair, a full line investment banking partnership, was founded William Blair
       Venture Partners (WBVP) in 1982
   •   Attribution/Lead Investor/Board of Directors: HealthSouth Corp, Intermedics Intraocular,
       Managed Health Network, Business Depot Ltd., Calumet Holdings, Early Winters Inc.,
       Staples, Streamers Inc., and The Sports Authority

1980-1982      General Strategy Consultant, Booz Allen and Hamilton, Chicago, IL

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June 1979–August 1979 Associate, The Boston Consulting Group, Chicago, IL

Professional Activities
   •   Former Board of Directors, Chairman of the Compensation Committee, National
       Equipment Services
   •   Board of Directors, Chairman of the Compensation Committee, Advanced LifeSciences
   •   FormerBoard of Directors, Barrier Safe Incorporated (Private)
   •   Former Board of Advisors, Invenergy
   •   Former Board of Directors, Generation One (Private)
   •   Former Advisor, Anka Capital
   •   Board of Directors Seurat Therapeutics
   •   Board of Advisors Dais Corporation

Additional Activities

   •   Harvard College Visiting Committee
   •   25th/30th Reunion Finance Committee Harvard College
   •   Economic Club of Chicago
   •   Former President, Parents Committee, Phillips Exeter Academy, 2003-2006
   •   Former Director, Ravinia Music Festival
   •   Former Board of Directors, North Shore Country Day School
   •   Former Board of Directors, The Jewish Federation of Chicago




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Business Cases Authored
   • "Kumbuya," Application of the unit model to social media and internetcommerce
   • "Big Marker," Application of the unit model to social media and internetcommerce
   • "Angstrom Media," Financing strategy, structure, and security design
   • "Visible Interactive Term Sheet," The fundamentals and negotiation of a venturecapital
      term-sheet
   • "Save A Buck," The venture capital deal: Valuations, structure, and term sheetdesign
   • "Able Care Products," The fundamentals and financing of the lower middle market buyout
   • "Wentworth Browning," The management buyout: The role of the sponsor and returns to
      all participants
   • "InterWorkings," Taking a public company private: From unit model topurchase
   • "EMD," Financial planning in a down round
   • "QIS," Fundamentals of a lower middle market buyout
   • "NerveCorp," Restructuring and Dilution
   • "Careers in Private Equity," A practitioner's guide
   • "I Love Cash Flow," The practitioner's guide to analogs and unit models
   • "Burrito Beach," Valuation and Structure of a Venture Capital Project
   • "JustGrapes," Analogs and cost components and the use of research to develop the
      economics of the business
   • "Vision Enterprise," The geographic unit model and the use of regional advertisingin
      establishing a brand
   • "Sunrise Assisted Living," The specialized asset as a unit model
   • "Galen Nanosystems," The economics of a technology driven unit model
   • "Slab Technology," How Research and Development inform the investment at the unit
      level
   • "SenreQ," Waste, Energy Technology, and the geographic unit model as a function of
      distance
   • "The Sports Authority," Utilizing market research to verify analogs
   • "Advanced Life Sciences," Utilizing grants, off-shoring, and joint ventures to minimize
      cash investment
   • "Search Channel," The unit model system applied to the internet
   • "Aspen Youth Services," The unit model as an "outpost"
   • "Pay Ease," A review of Entrepreneurial Economics
   • "Wind Energy Maintenance," Start-up: A Geographic Unit Model
   • "Healthconnect," Using unit model analysis to select a strategy
   • "Swing-Byte," The Geographic Unit Model in the Consumer Space
   • "Healthconnect," Utilizing the unit model to prioritize markets
   • "Boulder Healthcare," Understanding the Acquisition of a platform company and the
      ongoing insertion of tuck in acquisitions in anticipation of selling the asset during an M&A
      transaction
                                                5
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   •    "Seurat Therapeutics," examining the role of grants and offshoring and joint ventures in
        bringing down the cash investment of a disruptive new concept

Expert Reports and Testimony
  •     Mitch Jacobs v. Scott Cohen, Superior Court of California County of Los Angeles.
        Professor Meadow was hired to opine on partnership formation and operation. Deposition
        testimony June 19, 2024.
  •     TGC Partners Limited et al., v. SIG China Investments One et al. Professor Meadow
        was hired to opine on custom and practice relating to follow-on investments in the
        venture capital industry. Report filed December 29, 2023. Rebuttal Report filed April 12,
        2024. Deposition testimony May 30, 2024.
  •     Confidential Arbitration, Venture Capital Firm Manager v. Former Partner.
        Professor Meadow was hired by a Venture Capital firm to opine on custom and
        practice regarding continuation funds and portfolio company valuation. Report filed
        June 29, 2023. Rebuttal Report filed July 27, 2023. Deposition testimony August 28,
        2023. Arbitration testimony December 22, 2023.
  •     Toptal, LLC v. Denis Grosz et al., The Second Judicial District Court of the
        State of Nevada in the County of Washoe. Professor Meadow was hired to opine
        on custom and practice regarding investments in early stage companies. Opening
        Report filed June 26, 2023. Rebuttal Report, July 21, 2023. Deposition testimony on
        September 13, 2023.
  •     Lifespeed, Inc. v. Perkins Coie LLP, Inc. Professor Meadow was retained by
        Lifespeed to generate a set of early-stage companies in the electronic medical records
        industry. Deposition testimony on May 12, 2020. Trial testimony on May 24, 2022.
  •     Confidential Arbitration, Venture Capital firm v. Former Employee. Professor
        Meadow was hired by a venture capital firm to opine on custom and practice in the
        venture capital industry. Report filed June 3, 2021. Rebuttal Report filed July 1, 2021.
        Deposition testimony August 18, 2021.
  •     Confidential Arbitration, Venture Capital firm v. Limited Partner. Professor
        Meadow was hired by a Limited Partner to opine on custom and practice regarding the
        relationship between a venture capital firm and its Limited Partners, the due diligence
        process and security design in venture capital. Report filed October 30, 2020.
        Arbitration testimony May 27, 2021.
  •     Confidential dispute between two biotechnology firms. Professor Meadow was hired
        by the CEO of a biotechnology startup to opine on issues relating to IPO customs and
        practice. Report filed November 8, 2019. Rebuttal Report filed November 22, 2019.
        Supplemental Report filed December 6, 2019. Deposition testimony December 20, 2019.
  •     Confidential Arbitration, Private Equity Firm v. Respondent. Professor Meadow
        was hired by a Korean private equity firm against the seller of a Korean retail firm. The
        purchaser claimed that the seller did not adequately disclose accounting misconduct at the
        target prior to the sale. Report filed February 25, 2019. Arbitration testimony on July 8,
        2019.
  •     Confidential Arbitration, Claimant v. Private Equity Firm. Professor Meadow was
                                                  6
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      hired by a Chinese purchaser of a Korean insurance company. Professor Meadow was
      asked to opine on monitoring of portfolio companies by private equity firms. Report filed
      September 21, 2018. Supplemental Report filed December 14, 2018. Arbitration
      testimony in Hong Kong on March 26, 2019.
•     Trilantic Capital Partners IV L.P. and TCP Clothesline SPV L.L.C. v. United
      Food & Commercial Workers International Union-Industry Pension Fund, et al.
      Case No. 1:17-cv-07485-JGK. Professor Meadow was hired by multi-company
      pension funds to opine on the role of a private equity investor in its investment
      companies. Opening report filed October 1, 2019.
•     Confidential Arbitration, Claimant v. Private Investment Fund Manager. Report
      filed June 12, 2018. Deposition testimony August 1, 2018.
•     Confidential Dispute, SEC Investigation of Private Equity Firm. Declaration filed
      April 13, 2018.
•     Confidential Arbitration, Claimant v. Private Equity Fund General Partner. Report
      filed March 23, 2018. Rebuttal report filed April 23, 2018. Supplemental report filed May
      30, 2018. Arbitration testimony, August 28, 2018.
•     Confidential Arbitration, Claimant v. Private Equity Firm. Report filed November
      24, 2017.
•     Confidential Arbitration, Private Equity Firm v. Private Equity Firm, Brazil. Report
      filed November 6, 2017.
•     Confidential Dispute, Private Equity Firm v. Claimant, United States. Declaration
      filed October 2017
•     Vista Outdoor Inc. v. Reeves Family Trust, Michelle Wilkens, Jeremy Wilkens, and
      Kyle Reeves. Case No. 1:16-cv-05766-JSR. Rebuttal report filed November 29, 2016.
      Deposition testimony December 7, 2016.
•     Cornerstone Healthcare Group Holding, Inc., Plaintiff, v. Reliant Hospital Partners,
      LLC, Nautic Partners LLC, Michael Brohm, Patrick Ryan, Kenneth McGee, Jerry
      Huggler, Chad Deardorff, et al., Rebuttal report filed September 23, 2016.
•     Confidential Dispute, Manufacturing Company v. Actuarial Service Provider.
      Report filed August 15, 2016. Supplemental report filed September 17, 2017. Deposition
      testimony January 25, 2018.
•     Colin Veitch et al., v. Virgin Management USA, Inc. et al. Case No. 15-20989-
      CIVMOORE/ MCALILEY. Report filed December 1, 2015. Rebuttal report filed
      December 14, 2015.
•     Confidential Arbitration between Investors in a Private Equity Fund General
      Partnership and the Management Company. Report filed 2014. Arbitration testimony,
      2014.
•     Continuum Managed Services, LLC, v. Zenith Infotech. The American Arbitration
      Association, Case No. 50-117-T-001067-13. Disclosure filed 2014.
•     In re Williamson, SEC Administrative Proceeding File No. 3-15430. Report filed
      2013.

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•     Confidential Private Arbitration Hearing, Private Equity Firm v. Manufacturing
      Company, United States. Report filed January 18, 2013. Amendment filed January 25,
      2013. Trial testimony March 2013.
•     In the Matter of Advanced Equities. Engagement with the SEC. Case settled in 2012
      prior to report filing.




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           APPENDIX B
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                                                                                 August 29, 2024


By Email

AUSA Dina McLeod
AUSA Rushmi Bhaskaran
AUSA Nicholas W. Chiuchiolo
AUSA Georgia Kostopoulos
United States Attorney’s Office
Southern District of New York
26 Federal Plaza, 37th Floor
New York, New York 10278


       Re:       United States v. Javice, et al.,
                 23 Cr. 251 (AKH)

Dear Counsel:

       Please find below an index of Bates-stamped experts’ reliance materials from the discovery
produced to date (Appendix B).

Dr. Maxime Cohen

                                  SEC-SDNY-EPROD-
    ACX_Frank_0012                                                 USAO_Rel_000098919                 USAO_Rel_001723448
                                      000012287
                                  SEC-SDNY-EPROD-
    ACX_Frank_0158                                                 USAO_Rel_000104661                 USAO_Rel_001725769
                                      000046059
                                  SEC-SDNY-EPROD-
    ACX_Frank_0161                                                 USAO_Rel_000210132                 USAO_Rel_001725773
                                      000274192
                                  SEC-SDNY-EPROD-
    ACX_Frank_0183                                                 USAO_Rel_000210134                 USAO_Rel_001735542
                                      000335500
    ACX_Frank_0299               USAO_Rel_000005336                USAO_Rel_000277102                 USAO_Rel_001738547
    ACX_Frank_0304               USAO_Rel_000005357                USAO_Rel_000388305                 USAO_Rel_001738649
    ACX_Frank_0306               USAO_Rel_000005359                USAO_Rel_000388487                 USAO_Rel_001743783
    ACX_Frank_0348               USAO_Rel_000021155                USAO_Rel_000528660                 USAO_Rel_001759838
    JPMC_00000027                USAO_Rel_000021230                USAO_Rel_000529179                 USAO_Rel_001819205
    JPMC_01150808                USAO_Rel_000021499                USAO_Rel_000635475                 USAO_Rel_001840792


                       AMERICAS (NEW YORK, DELAWARE, MIAMI, SAN FRANCISCO, SÃO PAULO, WASHINGTON DC)
           APAC (HONG KONG, SEOUL, SHANGHAI), CARIBBEAN (BVI, CAYMAN ISLANDS), EMEA (CYPRUS, DUBAI, LONDON, TEL AVIV)

                         KOBRE & KIM REFERS TO KOBRE & KIM LLP, A NEW YORK LIMITED LIABILITY PARTNERSHIP.
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    JPMC_01162448       USAO_Rel_000021502   USAO_Rel_000693082     USAO_Rel_001841330
    JPMC_01163707       USAO_Rel_000022157   USAO_Rel_000693083     USAO_Rel_001854189
   JPMC_R17_022833      USAO_Rel_000022277   USAO_Rel_000903171     USAO_Rel_001897381
     LTF-0005070        USAO_Rel_000061922   USAO_Rel_000938234     USAO_Rel_002002440
  SEC-SDNY-EPROD-
                        USAO_Rel_000062697   USAO_Rel_001419014     USKOKI0011_00000882
      000000014
  SEC-SDNY-EPROD-
                        USAO_Rel_000092053   USAO_Rel_001604898
      000000016
  SEC-SDNY-EPROD-
                        USAO_Rel_000092979   USAO_Rel_001720389
      000011879
 USAO_Rel_000145657     USAO_Rel_000145127   USAO_Rel_000145877



Prof. Stephen Solomon

   ACX_Frank_0012          LTF-0005070       USAO_Rel_000011137     USAO_Rel_001845341
   ACX_Frank_0158          LTF-0005083       USAO_Rel_000014643     USAO_Rel_001845655
   ACX_Frank_0161         LTF-0006244A       USAO_Rel_000017584     USAO_Rel_001845656
   ACX_Frank_0183          LTF-0006834       USAO_Rel_000020788     USAO_Rel_001845699
   ACX_Frank_0189          LTF-0006948       USAO_Rel_000021155     USAO_Rel_001845700
   ACX_Frank_0299          LTF-0006949       USAO_Rel_000021230     USAO_Rel_001845701
   ACX_Frank_0304          LTF-0006950       USAO_Rel_000021502     USAO_Rel_001845702
   ACX_Frank_0306          LTF-0006951       USAO_Rel_000022157     USAO_Rel_001845703
   ACX_Frank_0348          LTF-0006952       USAO_Rel_000022249     USAO_Rel_001847471
 CAP_FRANK_00002403        LTF-0006953       USAO_Rel_000025396     USAO_Rel_001847473
   GS_DOJ_00000003         LTF-0006954       USAO_Rel_000056684     USAO_Rel_001849344
   GS_DOJ_00000010         LTF-0006955       USAO_Rel_000061922     USAO_Rel_001851212
   GS_DOJ_00000012         LTF-0006956       USAO_Rel_000065179     USAO_Rel_001851262
   GS_DOJ_00000069         LTF-0006957       USAO_Rel_000065181     USAO_Rel_001851389
   GS_DOJ_00000084         LTF-0006958       USAO_Rel_000086945     USAO_Rel_001854188
   GS_DOJ_00000088         LTF-0006959       USAO_Rel_000087511     USAO_Rel_001854189
   GS_DOJ_00000225         LTF-0006960       USAO_Rel_000092053     USAO_Rel_001858798
   GS_DOJ_00000226         LTF-0006961       USAO_Rel_000092979     USAO_Rel_001858963
   GS_DOJ_00000267         LTF-0006970       USAO_Rel_000121848     USAO_Rel_001859048
   GS_DOJ_00000274         LTF-0006971       USAO_Rel_000210132     USAO_Rel_001859062
   GS_DOJ_00000336         LTF-0006972       USAO_Rel_000210134     USAO_Rel_001859184
   GS_DOJ_00000419         LTF-0006973       USAO_Rel_000377638     USAO_Rel_001860174
   GS_DOJ_00000423         LTF-0006974       USAO_Rel_000378641     USAO_Rel_001860442
    JPMC_00001429          LTF-0006975       USAO_Rel_000528660     USAO_Rel_001862009
    JPMC_01160901          LTF-0006976       USAO_Rel_000529179     USAO_Rel_001865157
    JPMC_01150808          LTF-0006977       USAO_Rel_000533039     USAO_Rel_001869869
    JPMC_01150818          LTF-0006978       USAO_Rel_000548457     USAO_Rel_001872164
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    JPMC_01150887         LTF-0008291       USAO_Rel_000604827      USAO_Rel_001875802
    JPMC_01158109         LTF-0009736       USAO_Rel_000604829      USAO_Rel_001877526
    JPMC_01158201         LTF-0009737       USAO_Rel_000665887      USAO_Rel_001888329
    JPMC_01158204         LTF-0009738       USAO_Rel_000672016      USAO_Rel_001954154
    JPMC_01160900         LTF-0009741       USAO_Rel_000674750      USAO_Rel_001955613
    JPMC_01163634         LTF-0009743       USAO_Rel_000674779      USAO_Rel_001960612
    JPMC_01181052         LTF-0009744       USAO_Rel_000674808      USAO_Rel_001960614
    JPMC_01188966         LTF-0009745       USAO_Rel_000675849      USAO_Rel_001960615
   JPMC_R17_000096        LTF-0009746       USAO_Rel_000675851      USAO_Rel_001960664
   JPMC_R17_000272        LTF-0009747       USAO_Rel_000675852      USAO_Rel_001960665
   JPMC_R17_000646        LTF-0009748       USAO_Rel_000675854      USAO_Rel_001960695
   JPMC_R17_000906        LTF-0009749       USAO_Rel_000681453      USAO_Rel_001961034
   JPMC_R17_000945        LTF-0009750       USAO_Rel_000681474      USAO_Rel_001961035
   JPMC_R17_000954        LTF-0009751       USAO_Rel_000681872      USAO_Rel_001961036
   JPMC_R17_001000        LTF-0009752       USAO_Rel_000683406      USAO_Rel_001961060
   JPMC_R17_001063        LTF-0009753       USAO_Rel_000683408      USAO_Rel_001961064
   JPMC_R17_001065        LTF-0009754       USAO_Rel_000684189      USAO_Rel_001961112
   JPMC_R17_001093        LTF-0009765       USAO_Rel_000691654      USAO_Rel_001961115
   JPMC_R17_001185        LTF-0009799       USAO_Rel_000691655      USAO_Rel_001961234
   JPMC_R17_001451        LTF-0009816       USAO_Rel_000693082      USAO_Rel_001961236
   JPMC_R17_001578        LTF-0009818       USAO_Rel_000693083      USAO_Rel_001961259
   JPMC_R17_001694        LTF-0009820       USAO_Rel_000714745      USAO_Rel_001961512
   JPMC_R17_001786        LTF-0009858       USAO_Rel_000725805      USAO_Rel_001961513
   JPMC_R17_001790        LTF-0009961       USAO_Rel_000916738      USAO_Rel_001961514
   JPMC_R17_001791        LTF-0009962       USAO_Rel_000938234      USAO_Rel_001961617
   JPMC_R17_001792        LTF-0009963       USAO_Rel_001419483      USAO_Rel_001961818
   JPMC_R17_001793        LTF-0009964       USAO_Rel_001604898      USAO_Rel_001961913
   JPMC_R17_001796        LTF-0010741       USAO_Rel_001712585      USAO_Rel_001961915
   JPMC_R17_001797        LTF-0010744       USAO_Rel_001712594      USAO_Rel_001961918
   JPMC_R17_001799        LTF-0010762       USAO_Rel_001713155      USAO_Rel_001962488
   JPMC_R17_001807        LTF-0010763       USAO_Rel_001713243      USAO_Rel_001962709
   JPMC_R17_001913        LTF-0010824       USAO_Rel_001715042      USAO_Rel_001962823
   JPMC_R17_004362        LTF-0010831       USAO_Rel_001718924      USAO_Rel_001962845
   JPMC_R17_004363        LTF-0010843       USAO_Rel_001719240      USAO_Rel_001963254
   JPMC_R17_007564        LTF-0010844       USAO_Rel_001720389      USAO_Rel_001963460
   JPMC_R17_007789        LTF-0010852       USAO_Rel_001720629      USAO_Rel_001963461
   JPMC_R17_008229        LTF-0012391       USAO_Rel_001720903      USAO_Rel_001963607
   JPMC_R17_009269        LTF-0012746       USAO_Rel_001722002      USAO_Rel_001965010
   JPMC_R17_010216        LTF-0013266       USAO_Rel_001722760      USAO_Rel_001965604
   JPMC_R17_010218        LTF-0013279       USAO_Rel_001723924      USAO_Rel_001965733
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   JPMC_R17_010936        LTF-0013280       USAO_Rel_001724090      USAO_Rel_001965735
   JPMC_R17_011028        LTF-0016641       USAO_Rel_001724292      USAO_Rel_001965765
   JPMC_R17_011041        LTF-0016884       USAO_Rel_001724633      USAO_Rel_001965766
   JPMC_R17_011120        LTF-0018173       USAO_Rel_001724665      USAO_Rel_001965767
   JPMC_R17_011149        LTF-0019498       USAO_Rel_001725851      USAO_Rel_001965768
   JPMC_R17_011151        LTF-0019500       USAO_Rel_001726620      USAO_Rel_001965769
   JPMC_R17_011243        LTF-0019501       USAO_Rel_001726822      USAO_Rel_001966311
   JPMC_R17_011303        LTF-0020353       USAO_Rel_001727239      USAO_Rel_001966312
   JPMC_R17_011521        LTF-0021746       USAO_Rel_001727326      USAO_Rel_001968013
   JPMC_R17_011656        LTF-0021922       USAO_Rel_001727330      USAO_Rel_001968014
   JPMC_R17_012194        LTF-0021967       USAO_Rel_001727834      USAO_Rel_001968017
   JPMC_R17_012259        LTF-0021969       USAO_Rel_001727839      USAO_Rel_001968124
   JPMC_R17_012260        LTF-0021970       USAO_Rel_001728982      USAO_Rel_001968287
   JPMC_R17_012360        LTF-0021994       USAO_Rel_001728983      USAO_Rel_001968288
   JPMC_R17_012459        LTF-0022097       USAO_Rel_001729107      USAO_Rel_001968692
   JPMC_R17_012688        LTF-0026220       USAO_Rel_001729830      USAO_Rel_001968893
   JPMC_R17_014331        LTF-0027271       USAO_Rel_001730711      USAO_Rel_001968894
   JPMC_R17_014436        LTF-0029686       USAO_Rel_001733501      USAO_Rel_001970167
   JPMC_R17_014532        LTF-0029687       USAO_Rel_001733508      USAO_Rel_001970736
   JPMC_R17_015275        LTF-0029782       USAO_Rel_001733605      USAO_Rel_001970737
   JPMC_R17_015296        LTF-0032331       USAO_Rel_001734535      USAO_Rel_001970901
   JPMC_R17_016567        LTF-0032361       USAO_Rel_001735542      USAO_Rel_001971019
   JPMC_R17_017241        LTF-0032515       USAO_Rel_001738649      USAO_Rel_001971023
   JPMC_R17_017258        LTF-0032537       USAO_Rel_001738997      USAO_Rel_001971674
   JPMC_R17_017715        LTF-0033090       USAO_Rel_001740819      USAO_Rel_001971933
   JPMC_R17_018046        LTF-0034017       USAO_Rel_001740829      USAO_Rel_001975353
   JPMC_R17_018053        LTF-0035242       USAO_Rel_001742586      USAO_Rel_001975825
   JPMC_R17_018061        LTF-0037120       USAO_Rel_001743369      USAO_Rel_001980527
   JPMC_R17_018458        LTF-0037124       USAO_Rel_001743783      USAO_Rel_001981281
   JPMC_R17_018651        LTF-0039840       USAO_Rel_001746841      USAO_Rel_001983520
   JPMC_R17_022032        LTF-0043296       USAO_Rel_001759838      USAO_Rel_001983521
   JPMC_R17_022568        LTF-0043307       USAO_Rel_001803429      USAO_Rel_001983611
   JPMC_R17_022578        LTF-0043325       USAO_Rel_001803442      USAO_Rel_001983956
   JPMC_R17_022678        LTF-0043337       USAO_Rel_001803454      USAO_Rel_001984939
   JPMC_R17_022771        LTF-0043338       USAO_Rel_001803457      USAO_Rel_001987480
   JPMC_R17_022833        LTF-0043339       USAO_Rel_001804012      USAO_Rel_001987631
   JPMC_R17_023246        LTF-0043340       USAO_Rel_001804668      USAO_Rel_002002440
   JPMC_R17_023247        LTF-0043372       USAO_Rel_001805304      USAO_Rel_002163488
   JPMC_R17_023296        LTF-0043385       USAO_Rel_001805313      USAO_Rel_002163490
   JPMC_R17_025051        LTF-0043723       USAO_Rel_001806225      USAO_Rel_002163548
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   JPMC_R17_025053        LTF-0043738       USAO_Rel_001806233      USAO_Rel_002163552
   JPMC_R17_025061        LTF-0046069       USAO_Rel_001806618      USAO_Rel_002163569
   JPMC_R17_025065        LTF-0046090       USAO_Rel_001812590      USAO_Rel_002163574
   JPMC_R17_026460        LTF-0048504       USAO_Rel_001817586      USAO_Rel_002163575
   JPMC_R17_026461         LTF-0056000      USAO_Rel_001817588      USAO_Rel_002163584
                        SEC-SDNY-EPROD-
   JPMC_R17_026523                          USAO_Rel_001822467      USAO_Rel_002163585
                            000000014
                        SEC-SDNY-EPROD-
   JPMC_R17_026524                          USAO_Rel_001822512      USAO_Rel_002163586
                            000000016
                        SEC-SDNY-EPROD-
   JPMC_R17_026539                          USAO_Rel_001822517      USAO_Rel_002163606
                            000004721
                        SEC-SDNY-EPROD-
   JPMC_R17_026543                          USAO_Rel_001822518      USAO_Rel_002163608
                            000005129
                        SEC-SDNY-EPROD-
   JPMC_R17_026553                          USAO_Rel_001822527      USAO_Rel_002163609
                            000005503
                        SEC-SDNY-EPROD-
   JPMC_R17_026555                          USAO_Rel_001825336      USAO_Rel_002163689
                            000006007
                        SEC-SDNY-EPROD-
   JPMC_R17_026697                          USAO_Rel_001835526      USAO_Rel_002163690
                            000008253
                        SEC-SDNY-EPROD-
   JPMC_R17_026803                          USAO_Rel_001835527      USAO_Rel_002163693
                            000009929
                        SEC-SDNY-EPROD-
   JPMC_R17_026816                          USAO_Rel_001835588      USAO_Rel_002163694
                            000009939
                        SEC-SDNY-EPROD-
   JPMC_R17_026907                          USAO_Rel_001836750      USAO_Rel_002163718
                            000011879
                        SEC-SDNY-EPROD-
   JPMC_R17_026910                          USAO_Rel_001836752      USAO_Rel_002163828
                            000047500
                        SEC-SDNY-EPROD-
   JPMC_R17_026915                          USAO_Rel_001836973      USAO_Rel_002163829
                            000054392
                        SEC-SDNY-EPROD-
   JPMC_R17_027112                          USAO_Rel_001837432      USAO_Rel_002163832
                            000088982
                        SEC-SDNY-EPROD-
   JPMC_R17_027127                          USAO_Rel_001837487      USAO_Rel_002163853
                            000088986
                        SEC-SDNY-EPROD-
   JPMC_R17_027150                          USAO_Rel_001840206      USAO_Rel_002163854
                            000088994
                        SEC-SDNY-EPROD-
     LTF-0043343                            USAO_Rel_001840792      USAO_Rel_002163855
                            000201574
                        SEC-SDNY-EPROD-
     LTF-0000082                            USAO_Rel_001841330      USAO_Rel_002163856
                            000201630
                        SEC-SDNY-EPROD-
     LTF-0000145                            USAO_Rel_001841730      USAO_Rel_002163857
                            000397206
                        SEC-SDNY-EPROD-
     LTF-0000163                            USAO_Rel_001841733      USAO_Rel_002163858
                            000397211
                        SEC-SDNY-EPROD-
     LTF-0000164                            USAO_Rel_001843644      USAO_Rel_002163860
                            000409227
     LTF-0000166       USAO_Rel_000004459   USAO_Rel_001843820      USAO_Rel_002163863
     LTF-0001266       USAO_Rel_000003195   USAO_Rel_001843821      USAO_Rel_002163901
     LTF-0001269       USAO_Rel_000003470   USAO_Rel_001843870      USAO_Rel_002168281
     LTF-0001277       USAO_Rel_000003789   USAO_Rel_001844561      USAO_Rel_002168283
     LTF-0001535       USAO_Rel_000006480   USAO_Rel_001844563      USAO_Rel_002201679
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     LTF-0001789       USAO_Rel_000010865   USAO_Rel_001844602
     LTF-0003940       USAO_Rel_000010945   USAO_Rel_001845332
     LTF-0005058       USAO_Rel_000011131   USAO_Rel_001845333



Prof. Scott Meadow

   ACX_Frank_0012         LTF-0006950       USAO_Rel_000061922      USAO_Rel_001865157
   ACX_Frank_0158         LTF-0006951       USAO_Rel_000065179      USAO_Rel_001869869
   ACX_Frank_0161         LTF-0006952       USAO_Rel_000065181      USAO_Rel_001872164
   ACX_Frank_0183         LTF-0006953       USAO_Rel_000086945      USAO_Rel_001875664
   ACX_Frank_0189         LTF-0006954       USAO_Rel_000087511      USAO_Rel_001875802
   ACX_Frank_0299         LTF-0006955       USAO_Rel_000092053      USAO_Rel_001877526
   ACX_Frank_0304         LTF-0006956       USAO_Rel_000092979      USAO_Rel_001888329
   ACX_Frank_0306         LTF-0006957       USAO_Rel_000121848      USAO_Rel_001954154
   ACX_Frank_0348         LTF-0006958       USAO_Rel_000210132      USAO_Rel_001955613
 CAP_FRANK_00002403       LTF-0006959       USAO_Rel_000210134      USAO_Rel_001960612
   GS_DOJ_00000003        LTF-0006960       USAO_Rel_000378641      USAO_Rel_001960614
   GS_DOJ_00000010        LTF-0006961       USAO_Rel_000528660      USAO_Rel_001960615
   GS_DOJ_00000012        LTF-0006970       USAO_Rel_000533039      USAO_Rel_001960664
   GS_DOJ_00000069        LTF-0006971       USAO_Rel_000604827      USAO_Rel_001960665
   GS_DOJ_00000084        LTF-0006972       USAO_Rel_000604829      USAO_Rel_001960695
   GS_DOJ_00000088        LTF-0006973       USAO_Rel_000672016      USAO_Rel_001961034
   GS_DOJ_00000225        LTF-0006974       USAO_Rel_000674750      USAO_Rel_001961035
   GS_DOJ_00000226        LTF-0006975       USAO_Rel_000674779      USAO_Rel_001961036
   GS_DOJ_00000267        LTF-0006976       USAO_Rel_000674808      USAO_Rel_001961060
   GS_DOJ_00000274        LTF-0006977       USAO_Rel_000675849      USAO_Rel_001961064
   GS_DOJ_00000336        LTF-0006978       USAO_Rel_000675851      USAO_Rel_001961112
   GS_DOJ_00000419        LTF-0008291       USAO_Rel_000675852      USAO_Rel_001961115
   GS_DOJ_00000423        LTF-0009736       USAO_Rel_000675854      USAO_Rel_001961234
    JPMC_01150818         LTF-0009737       USAO_Rel_000681453      USAO_Rel_001961236
    JPMC_01158109         LTF-0009738       USAO_Rel_000681474      USAO_Rel_001961259
    JPMC_01158201         LTF-0009741       USAO_Rel_000681872      USAO_Rel_001961512
    JPMC_01158204         LTF-0009743       USAO_Rel_000683406      USAO_Rel_001961513
    JPMC_01160900         LTF-0009744       USAO_Rel_000683408      USAO_Rel_001961514
    JPMC_01163634         LTF-0009745       USAO_Rel_000684189      USAO_Rel_001961617
    JPMC_01181052         LTF-0009746       USAO_Rel_000691654      USAO_Rel_001961818
    JPMC_01188966         LTF-0009747       USAO_Rel_000691655      USAO_Rel_001961913
    JPMC_01204234         LTF-0009748       USAO_Rel_000693082      USAO_Rel_001961915
   JPMC_R17_000096        LTF-0009749       USAO_Rel_000693083      USAO_Rel_001961918
   JPMC_R17_000646        LTF-0009750       USAO_Rel_000714745      USAO_Rel_001962488
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   JPMC_R17_000954        LTF-0009751       USAO_Rel_000725805      USAO_Rel_001962709
   JPMC_R17_001000        LTF-0009752       USAO_Rel_000916738      USAO_Rel_001962823
   JPMC_R17_001063        LTF-0009753       USAO_Rel_000938234      USAO_Rel_001962845
   JPMC_R17_001065        LTF-0009754       USAO_Rel_001058334      USAO_Rel_001963254
   JPMC_R17_001093        LTF-0009765       USAO_Rel_001058336      USAO_Rel_001963460
   JPMC_R17_001185        LTF-0009799       USAO_Rel_001419483      USAO_Rel_001963461
   JPMC_R17_001578        LTF-0009816       USAO_Rel_001604898      USAO_Rel_001963607
   JPMC_R17_001694        LTF-0009818       USAO_Rel_001712585      USAO_Rel_001965010
   JPMC_R17_001786        LTF-0009820       USAO_Rel_001712594      USAO_Rel_001965604
   JPMC_R17_001790        LTF-0009858       USAO_Rel_001713155      USAO_Rel_001965733
   JPMC_R17_001791        LTF-0009961       USAO_Rel_001713243      USAO_Rel_001965735
   JPMC_R17_001792        LTF-0009962       USAO_Rel_001713526      USAO_Rel_001965765
   JPMC_R17_001793        LTF-0009963       USAO_Rel_001715042      USAO_Rel_001965766
   JPMC_R17_001796        LTF-0009964       USAO_Rel_001718924      USAO_Rel_001965767
   JPMC_R17_001797        LTF-0010741       USAO_Rel_001720629      USAO_Rel_001965768
   JPMC_R17_001799        LTF-0010744       USAO_Rel_001720903      USAO_Rel_001965769
   JPMC_R17_001807        LTF-0010762       USAO_Rel_001722002      USAO_Rel_001966311
   JPMC_R17_001837        LTF-0010763       USAO_Rel_001722760      USAO_Rel_001966312
   JPMC_R17_001913        LTF-0010824       USAO_Rel_001723924      USAO_Rel_001968013
   JPMC_R17_004362        LTF-0010831       USAO_Rel_001724090      USAO_Rel_001968014
   JPMC_R17_004363        LTF-0010843       USAO_Rel_001724292      USAO_Rel_001968017
   JPMC_R17_007564        LTF-0010844       USAO_Rel_001724665      USAO_Rel_001968124
   JPMC_R17_007789        LTF-0010852       USAO_Rel_001725851      USAO_Rel_001968287
   JPMC_R17_008229        LTF-0012746       USAO_Rel_001726620      USAO_Rel_001968288
   JPMC_R17_009269        LTF-0013266       USAO_Rel_001726822      USAO_Rel_001968692
   JPMC_R17_010216        LTF-0013279       USAO_Rel_001727239      USAO_Rel_001968893
   JPMC_R17_010218        LTF-0013280       USAO_Rel_001727326      USAO_Rel_001968894
   JPMC_R17_010936        LTF-0016641       USAO_Rel_001727330      USAO_Rel_001970167
   JPMC_R17_011028        LTF-0016884       USAO_Rel_001727834      USAO_Rel_001970736
   JPMC_R17_011041        LTF-0019498       USAO_Rel_001727839      USAO_Rel_001970737
   JPMC_R17_011120        LTF-0019500       USAO_Rel_001728982      USAO_Rel_001970901
   JPMC_R17_011149        LTF-0019501       USAO_Rel_001728983      USAO_Rel_001971019
   JPMC_R17_011151        LTF-0020353       USAO_Rel_001729107      USAO_Rel_001971023
   JPMC_R17_011243        LTF-0021746       USAO_Rel_001729830      USAO_Rel_001971674
   JPMC_R17_011303        LTF-0021922       USAO_Rel_001733501      USAO_Rel_001971933
   JPMC_R17_011521        LTF-0021967       USAO_Rel_001733508      USAO_Rel_001972598
   JPMC_R17_011656        LTF-0021969       USAO_Rel_001733605      USAO_Rel_001975353
   JPMC_R17_012194        LTF-0021970       USAO_Rel_001734535      USAO_Rel_001975825
   JPMC_R17_012259        LTF-0021994       USAO_Rel_001735152      USAO_Rel_001980527
   JPMC_R17_012260        LTF-0022097       USAO_Rel_001735542      USAO_Rel_001981281
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   JPMC_R17_012360        LTF-0026220       USAO_Rel_001738649      USAO_Rel_001983520
   JPMC_R17_012459        LTF-0027271       USAO_Rel_001738997      USAO_Rel_001983521
   JPMC_R17_012688        LTF-0029686       USAO_Rel_001740819      USAO_Rel_001983611
   JPMC_R17_014331        LTF-0029687       USAO_Rel_001740829      USAO_Rel_001983956
   JPMC_R17_014436        LTF-0029782       USAO_Rel_001742586      USAO_Rel_001984939
   JPMC_R17_014532        LTF-0032331       USAO_Rel_001743783      USAO_Rel_001987480
   JPMC_R17_015275        LTF-0032361       USAO_Rel_001746841      USAO_Rel_001987631
   JPMC_R17_015296        LTF-0032515       USAO_Rel_001759838      USAO_Rel_001988630
   JPMC_R17_016567        LTF-0032537       USAO_Rel_001803429      USAO_Rel_002002440
   JPMC_R17_017241        LTF-0033090       USAO_Rel_001803442      USAO_Rel_002163488
   JPMC_R17_017258        LTF-0034017       USAO_Rel_001803454      USAO_Rel_002163490
   JPMC_R17_017715        LTF-0035242       USAO_Rel_001804012      USAO_Rel_002163548
   JPMC_R17_018046        LTF-0037120       USAO_Rel_001804668      USAO_Rel_002163552
   JPMC_R17_018053        LTF-0037124       USAO_Rel_001805304      USAO_Rel_002163569
   JPMC_R17_018061        LTF-0039840       USAO_Rel_001805313      USAO_Rel_002163574
   JPMC_R17_018458        LTF-0043296       USAO_Rel_001806618      USAO_Rel_002163575
   JPMC_R17_018651        LTF-0043307       USAO_Rel_001812590      USAO_Rel_002163584
   JPMC_R17_022032        LTF-0043325       USAO_Rel_001817586      USAO_Rel_002163585
   JPMC_R17_022568        LTF-0043337       USAO_Rel_001817588      USAO_Rel_002163586
   JPMC_R17_022578        LTF-0043338       USAO_Rel_001822467      USAO_Rel_002163606
   JPMC_R17_022678        LTF-0043339       USAO_Rel_001822512      USAO_Rel_002163608
   JPMC_R17_022771        LTF-0043340       USAO_Rel_001822517      USAO_Rel_002163609
   JPMC_R17_022833        LTF-0043372       USAO_Rel_001822518      USAO_Rel_002163689
   JPMC_R17_023246        LTF-0043385       USAO_Rel_001822527      USAO_Rel_002163690
   JPMC_R17_023247        LTF-0043723       USAO_Rel_001835526      USAO_Rel_002163693
   JPMC_R17_023296        LTF-0043738       USAO_Rel_001835527      USAO_Rel_002163694
   JPMC_R17_025051        LTF-0046069       USAO_Rel_001835588      USAO_Rel_002163718
   JPMC_R17_025053        LTF-0046090       USAO_Rel_001836752      USAO_Rel_002163828
   JPMC_R17_025061        LTF-0048504       USAO_Rel_001836973      USAO_Rel_002163829
   JPMC_R17_025065        LTF-0056000       USAO_Rel_001837432      USAO_Rel_002163832
                       SEC-SDNY-EPROD-
   JPMC_R17_026460                          USAO_Rel_001837487      USAO_Rel_002163853
                           000000014
                       SEC-SDNY-EPROD-
   JPMC_R17_026461                          USAO_Rel_001840206      USAO_Rel_002163854
                           000000016
                       SEC-SDNY-EPROD-
   JPMC_R17_026523                          USAO_Rel_001840792      USAO_Rel_002163855
                           000004721
                       SEC-SDNY-EPROD-
   JPMC_R17_026524                          USAO_Rel_001841330      USAO_Rel_002163856
                           000005129
                       SEC-SDNY-EPROD-
   JPMC_R17_026539                          USAO_Rel_001841730      USAO_Rel_002163857
                           000005503
                       SEC-SDNY-EPROD-
   JPMC_R17_026543                          USAO_Rel_001841733      USAO_Rel_002163858
                           000006007
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                        SEC-SDNY-EPROD-
   JPMC_R17_026553                          USAO_Rel_001843644      USAO_Rel_002163860
                            000008253
                        SEC-SDNY-EPROD-
   JPMC_R17_026555                          USAO_Rel_001843820      USAO_Rel_002163863
                            000009929
                        SEC-SDNY-EPROD-
   JPMC_R17_026697                          USAO_Rel_001843821      USAO_Rel_002163901
                            000009939
                        SEC-SDNY-EPROD-
   JPMC_R17_026803                          USAO_Rel_001843870      USAO_Rel_002168281
                            000011879
                        SEC-SDNY-EPROD-
   JPMC_R17_026816                          USAO_Rel_001844561      USAO_Rel_002168283
                            000047500
                        SEC-SDNY-EPROD-
   JPMC_R17_026907                          USAO_Rel_001844563      USAO_Rel_002201679
                            000054392
                        SEC-SDNY-EPROD-
   JPMC_R17_026910                          USAO_Rel_001845332         LTF-0001789
                            000088982
                        SEC-SDNY-EPROD-
   JPMC_R17_026915                          USAO_Rel_001845333         LTF-0003940
                            000088986
                        SEC-SDNY-EPROD-
   JPMC_R17_027112                          USAO_Rel_001845341         LTF-0005058
                            000088994
                        SEC-SDNY-EPROD-
   JPMC_R17_027127                          USAO_Rel_001845655         LTF-0005070
                            000201574
                        SEC-SDNY-EPROD-
   JPMC_R17_027150                          USAO_Rel_001845656         LTF-0005083
                            000397206
                        SEC-SDNY-EPROD-
     LTF-0043343                            USAO_Rel_001845699         LTF-0006244
                            000397211
                        SEC-SDNY-EPROD-
     LTF-0000082                            USAO_Rel_001845700         LTF-0006834
                            000409227
     LTF-0000145       USAO_Rel_000004459   USAO_Rel_001845701         LTF-0006948
     LTF-0000163       USAO_Rel_000003195   USAO_Rel_001845702         LTF-0006949
     LTF-0000164       USAO_Rel_000003470   USAO_Rel_001845703      USAO_Rel_000011137
     LTF-0000166       USAO_Rel_000003789   USAO_Rel_001847471      USAO_Rel_000014643
     LTF-0001266       USAO_Rel_000006480   USAO_Rel_001847473      USAO_Rel_000017584
     LTF-0001269       USAO_Rel_000010865   USAO_Rel_001851212      USAO_Rel_000021155
     LTF-0001277       USAO_Rel_000010945   USAO_Rel_001851262      USAO_Rel_000021230
     LTF-0001535       USAO_Rel_000011131   USAO_Rel_001851389      USAO_Rel_000021499
 USAO_Rel_001859048    USAO_Rel_001860174   USAO_Rel_001854188      USAO_Rel_000021502
 USAO_Rel_001859062    USAO_Rel_001860442   USAO_Rel_001854189      USAO_Rel_000022157
 USAO_Rel_001859184    USAO_Rel_001862009   USAO_Rel_001858963      USAO_Rel_000056684
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       Re:       United States v. Javice, et al.,
                 23 Cr. 251 (AKH)

Dear Counsel:

       Please find below an index of third-party material (Appendix C) relied upon by the
witnesses noticed in Mr. Amar’s expert disclosure.

Dr. Maxime Cohen

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           APAC (HONG KONG, SEOUL, SHANGHAI), CARIBBEAN (BVI, CAYMAN ISLANDS), EMEA (CYPRUS, DUBAI, LONDON, TEL AVIV)

                         KOBRE & KIM REFERS TO KOBRE & KIM LLP, A NEW YORK LIMITED LIABILITY PARTNERSHIP.
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